                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK

JAMES CONTANT, SANDRA LAVENDER,
VICTOR HERNANDEZ, MARTIN-HAN
TRAN, FX PRIMUS LTD., CARLOS
GONZALEZ, UGNIUS MATKUS, CHARLES
G. HITCHCOCK III, JERRY JACOBSON,
TINA PORTER, AND PAUL VERMILLION,
on behalf of themselves and all others similarly
situated,
                                                    Civil Action No. 17-cv-3139-LGS
Plaintiffs,
                                                   SECOND CONSOLIDATED CLASS
v.                                                     ACTION COMPLAINT

BANK OF AMERICA CORPORATION;                          JURY TRIAL DEMANDED
BANK OF AMERICA, N.A.; MERRILL
LYNCH, PIERCE, FENNER & SMITH INC.;
THE BANK OF TOKYO MITSUBISHI UFJ
LTD.; BARCLAYS BANK PLC; BARCLAYS
CAPITAL INC.; BNP PARIBAS GROUP; BNP
PARIBAS NORTH AMERICA, INC.; BNP
PARIBAS SECURITIES CORP.; BNP
PARIBAS PRIME BROKERAGE, INC.;
CITIGROUP INC.; CITIBANK, N.A.;
CITICORP; CITIGROUP GLOBAL
MARKETS INC.; CREDIT SUISSE GROUP
AG; CREDIT SUISSE AG; CREDIT SUISSE
SECURITIES (USA) LLC; DEUTSCHE BANK
AG; DEUTSCHE BANK SECURITIES INC.;
THE GOLDMAN SACHS GROUP, INC.;
GOLDMAN, SACHS & CO.; HSBC BANK
PLC; HSBC NORTH AMERICA HOLDINGS,
INC.; HSBC BANK USA, N.A.; HSBC
SECURITIES (USA) INC.; JPMORGAN
CHASE & CO.; JPMORGAN CHASE BANK,
N.A.; MORGAN STANLEY; MORGAN
STANLEY & CO., LLC; MORGAN STANLEY
& CO. INTERNATIONAL PLC; RBC
CAPITAL MARKETS LLC; THE ROYAL
BANK OF SCOTLAND PLC; RBS
SECURITIES INC.; SOCIÉTÉ GÉNÉRALE
S.A.; STANDARD CHARTERED BANK; UBS
AG; UBS GROUP AG; and UBS SECURITIES
LLC;

Defendants.
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         Plaintiffs James Contant, Sandra Lavender, Victor Hernandez, Martin-Han Tran, FX

Primus Ltd., Carlos Gonzalez, Ugnius Matkus, Charles G. Hitchcock III, Jerry Jacobson, Tina

Porter, and Paul Vermillion (collectively, “Plaintiffs”), on behalf of themselves and the proposed

Classes (defined below), make these allegations against Defendants based upon personal

knowledge as to matters relating to themselves, and upon information and belief, documents

produced in related litigation and government investigations, and the investigations of counsel,

including analysis by Plaintiffs’ experts, as to all other matters.

                                        NATURE OF THE ACTION

         1.       This case involves a conspiracy among horizontal competitors to fix the prices of

foreign currencies (“FX”) and foreign currency instruments.                     Plaintiffs bring this action to

recover for injuries caused by Defendants on behalf of the proposed State Classes. 1 Plaintiffs

and members of the proposed Classes are indirect purchasers of spot FX Instruments 2 from

Defendants and/or Defendants’ co-conspirators.

         2.       Beginning at least as early as 2007 and continuing through at least 2013,

Defendants conspired with each other to fix prices in the FX market. 3                                  Defendants

communicated with each other daily, exchanging confidential customer information and

coordinating their trading strategies to manipulate FX benchmark rates and fix FX prices. These

collusive communications were widespread throughout Defendants’ FX trading departments. As

one FX trader at Barclays put it, “if you aint cheating, you aint trying.”


1
  See Class definitions, infra at “Class Action Allegations.”
2
  “FX Instrument” is defined in this Complaint and in the FOREX settlements as any FX spot transaction, forward,
swap, future, option, or any other FX transaction or instrument the trading or settlement value of which is related in
any way to FX rates. “FX Exchange-Traded Instrument” is defined in this Complaint and in the FOREX settlements
as any FX Instrument that was listed for trading through a U.S. exchange, including, but not limited to, FX futures
contracts and options contracts.
3
  The exact dates of the Conspiracy and the identities of Defendants’ co-conspirators are presently unknown to
Plaintiffs.



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       3.     Defendants’ conspiracy impacted the prices of all forms of FX Instruments

throughout the Class Period, including, as detailed below, the prices of FX Instruments

purchased by Plaintiffs and members of the Classes from retail foreign exchange dealers

(“RFEDs”) where the RFEDs purchased FX Instruments from Defendants for resale to their

retail FX customers such as Plaintiffs and members of the Classes.

       4.     Defendants’ conspiracy has been the subject of antitrust investigations by multiple

U.S., foreign, and international governmental authorities. Several government authorities have

imposed fines and other sanctions on one or more Defendants, including the U.S. Department of

Justice, U.S. Commodity Futures Trading Commission, U.S. Federal Reserve, New York State

Department of Financial Services, United Kingdom Financial Conduct Authority, the Swiss

Financial Market Supervisory Authority, and the South African Competition Commission. Thus

far, Defendants have been ordered to pay over $11 billion in fines and settlements to government

authorities for their involvement in the FX market manipulation conspiracy.

       5.     Defendants’ conspiracy is also the subject of a nationwide direct purchaser

antitrust class action currently pending before this Court, brought on behalf of persons and

entities that purchased FX Instruments directly from one or more Defendants or co-conspirators,

and persons and entities that purchased FX Exchange-Traded Instruments directly on a U.S.

exchange (collectively, the “Direct Purchaser Class Plaintiffs”).     In re Foreign Exchange

Benchmark Rates Antitrust Litigation, 1:13-cv-07789-LGS (S.D.N.Y.) (“FOREX”). On October

22, 2015, the Direct Purchaser Class Plaintiffs in FOREX moved for preliminary approval of

settlements totaling $2,009,075,000 with the following Defendants: Bank of America

Corporation; Bank of America, N.A.; Merrill Lynch, Pierce, Fenner & Smith Inc.; Barclays Bank

PLC; Barclays Capital Inc.; BNP Paribas Group; BNP Paribas North America Inc.; BNP Paribas




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Securities Corp.; BNP Prime Brokerage, Inc.; Citigroup Inc.; Citibank, N.A.; Citicorp; Citigroup

Global Markets Inc.; The Goldman Sachs Group, Inc.; Goldman, Sachs & Co.; HSBC Holdings

PLC; HSBC Bank PLC; HSBC North America Holdings Inc.; HSBC Bank USA, N.A.; HSBC

Securities (USA) Inc.; JPMorgan Chase & Co.; JPMorgan Chase Bank, N.A.; The Royal Bank of

Scotland Group PLC; The Royal Bank of Scotland PLC; RBS Securities Inc.; UBS AG; UBS

Group AG; and UBS Securities LLC See FOREX, ECF No. 480. On December 15, 2015, this

Court preliminarily approved the settlements, designated a settlement administrator, and

preliminarily certified a settlement class of persons and entities that entered into an FX

Instrument directly with a Defendant or co-conspirator (the “Direct Settlement Class”) and a

settlement class of persons and entities that entered into an FX Exchange-Traded Instrument

directly on a U.S. exchange (the “Exchange-Only Settlement Class”). Id. at ECF No. 536. On

July 28, 2017, the FOREX plaintiffs moved for preliminary approval of settlements totaling

$111,200,000 with Morgan Stanley, RBC, SocGen, Standard Chartered, and BTMU. Id. at ECF

No. 820. The Court granted preliminary approval on September 8, 2017. Id. at ECF No. 875. On

September 29, 2017, the FOREX plaintiffs moved for preliminary approval of a settlement for

$190,000,000 with Deutsche Bank. Id. at ECF No. 875. The Court granted preliminary approval

that same day. Id. at ECF No. 882. The fifteen Defendant groups that have entered into

settlements in FOREX are referred to herein as “Settling Defendants.” On January 12, 2018, the

FOREX Direct Purchaser Class Plaintiffs filed a motion for final approval of the settlements with

all fifteen Settling Defendant groups. Id. at ECF No. 924. The Court granted final approval on

August 6, 2018. Id. at ECF No. 1110. The FOREX litigation is ongoing against Credit Suisse

Group AG; Credit Suisse AG; and Credit Suisse Securities (USA) LLC (collectively, the “Non-

Settling Defendants”). The Defendants named in FOREX (including Settling Defendants and




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Non-Settling Defendants) are identical to the Defendants named in this action, with the

exceptions of HSBC Holdings PLC and The Royal Bank of Scotland Group PLC, which are

Settling Defendants in FOREX but are no longer Defendants in this action.

       6.      Plaintiffs and members of the proposed Classes in this action purchased FX

Instruments directly from members of the preliminarily-certified Direct Settlement Class in

FOREX, including those Direct Settlement Class members who are RFEDs. To the extent

Plaintiffs’ claims must proceed under the rule of reason or otherwise require the definition of a

relevant market, the market relevant to Plaintiffs’ claims is the United States market for spot FX

Instruments. As indirect purchasers of spot FX Instruments, Plaintiffs and members of the

proposed Classes are participants in the relevant market.

               JURISDICTION, VENUE, AND INTERSTATE COMMERCE

       7.      This Court has subject matter jurisdiction under 28 U.S.C. § 1332(d), in that this

is a class action in which the aggregate amount in controversy exceeds the sum of $5,000,000,

exclusive of interest and costs, and in which some members of the proposed Classes are citizens

of a state different from some Defendants.

       8.      The Court has personal jurisdiction over each Defendant because Defendants’

collusive and manipulative acts took place, in substantial part, in New York specifically and in

the United States generally. These acts were conducted by persons and entities subject to the

laws of the United States, as well as New York, Arizona, California, Illinois, Florida,

Massachusetts, Minnesota, North Carolina, and other states. Each Defendant has continuously

and systematically transacted FX in this District and throughout the United States.         Most

Defendants are headquartered in, maintain their principal place of business in, or maintain

offices in New York. Defendant traders located outside of the United States communicated

directly with Defendant traders located in New York to carry out and facilitate the conspiracy.


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Defendants’ conspiracy was directed at, and had the intended effect of, causing injury to persons

residing in, located in, or doing business in this District and throughout the United States.

Defendants’ conduct was within the flow of, and had a substantial effect on, the interstate

commerce of the United States, including in this District.

         9.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and 15 U.S.C. §

22.     All Defendants reside, transact business, are found, or have agents in this District.

Additionally, a substantial part of the events giving rise to Plaintiffs’ claims occurred in this

District, and a substantial portion of the affected interstate trade and commerce described herein

has been carried out in this District.

                                            PARTIES

I.       Plaintiffs

         10.    Plaintiff James Contant is an individual and a resident of Monroe County, New

York.     During the Class Period defined below, Plaintiff James Contant transacted FX

Instruments directly with an RFED that transacted those FX Instruments directly with one or

more Defendants. Specifically, while both residing in and physically located in New York,

Plaintiff James Contant engaged in FX spot transactions with currency pairs including

EUR/USD, USD/JPY, EUR/JPY, AUD/USD, and USD/CHF directly with an RFED where the

RFED transacted those FX Instruments directly with Defendants including Bank of America,

Barclays, BNP Paribas, Citigroup, Credit Suisse, Deutsche Bank, Goldman Sachs, Morgan

Stanley, RBS, RBC, SocGen, and UBS. As a result of Defendants’ illegal conduct described

herein, the RFED paid artificially inflated prices for FX Instruments purchased directly from

Defendants and Defendants’ co-conspirators, and passed on those overcharges on FX

Instruments to its customers, including Plaintiff James Contant. Thus, Plaintiff James Contant

indirectly purchased FX Instruments from one or more Defendants during the Class Period in


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New York, and was injured as a result of Defendants’ anticompetitive conduct alleged herein.

Plaintiff James Contant is referred to herein as the “New York Plaintiff.”

       11.     Plaintiff Sandra Lavender is an individual and resident of Maricopa County,

Arizona. During the Class Period defined below, Plaintiff Sandra Lavender transacted FX

Instruments directly with an RFED that transacted those FX Instruments directly with one or

more Defendants.     Specifically, while both residing in and physically located in Arizona,

Plaintiff Sandra Lavender engaged in FX spot transactions with the currency pair EUR/USD

directly with an RFED where the RFED transacted those FX Instruments directly with

Defendants including JPMorgan, Morgan Stanley, and RBS. As a result of Defendants’ illegal

conduct described herein, those RFEDs paid artificially inflated prices for FX Instruments

purchased directly from Defendants and Defendants’ co-conspirators, and passed on those

overcharges on FX Instruments to their customers, including Plaintiff Sandra Lavender. Thus,

Plaintiff Sandra Lavender indirectly purchased FX Instruments from one or more Defendants

during the Class Period in Arizona, and was injured as a result of Defendants’ anticompetitive

conduct alleged herein. Plaintiff Sandra Lavender is referred to herein as the “Arizona Plaintiff.”

       12.     Plaintiff Victor Hernandez is an individual and resident of Los Angeles County,

California. During the Class Period defined below, Plaintiff Victor Hernandez transacted FX

Instruments directly with an RFED that transacted those FX Instruments directly with one or

more Defendants. Specifically, while both residing in and physically located in California,

Plaintiff Victor Hernandez engaged in FX spot transactions with currency pairs including

GBP/JPY, GBP/USD, and USD/JPY directly from an RFED where the RFED purchased those

FX Instruments directly from Defendants including JPMorgan, Morgan Stanley, and RBS. As a

result of Defendants’ illegal conduct described herein, the RFED paid artificially inflated prices




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for FX Instruments purchased directly from Defendants and Defendants’ co-conspirators, and

passed on those overcharges on FX Instruments to its customers, including Plaintiff Victor

Hernandez. Thus, Plaintiff Victor Hernandez indirectly purchased FX Instruments from one or

more Defendants during the Class Period in California, and was injured as a result of

Defendants’ anticompetitive conduct alleged herein.

       13.     Plaintiff Martin-Han Tran is an individual and resident of Orange County,

California. During the Class Period defined below, Plaintiff Martin-Han Tran transacted FX

Instruments directly with an RFED that transacted those FX Instruments directly with one or

more Defendants. Specifically, while both residing in and physically located in California,

Plaintiff Martin-Han Tran engaged in FX spot transactions with currency pairs including

USD/JPY, AUD/USD, USD/CAD, USD/CHF, GBP/USD, EUR/JPY, EUR/USD, EUR/GBP,

GBP/JPY, EUR/CHF, and GBP/AUD directly with an RFED where the RFED transacted those

FX Instruments directly with Defendants including Bank of America, Barclays, BNP Paribas,

Citigroup, Credit Suisse, Deutsche Bank, Goldman Sachs, Morgan Stanley, RBS, RBC, SocGen,

and UBS. As a result of Defendants’ illegal conduct described herein, the RFED paid artificially

inflated prices for FX Instruments purchased directly from Defendants and Defendants’ co-

conspirators, and passed on those overcharges on FX Instruments to its customers, including

Plaintiff Martin-Han Tran. Thus, Plaintiff Martin-Han Tran indirectly purchased FX Instruments

from one or more Defendants during the Class Period in California, and was injured as a result of

Defendants’ anticompetitive conduct alleged herein. Plaintiffs Victor Hernandez and Martin-

Han Tran are collectively referred to herein as the “California Plaintiffs.”

       14.     Plaintiff FX Primus Ltd. (“FX Primus”) is a limited liability company doing

business in the state of Florida. During the Class Period defined below, Plaintiff FX Primus




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transacted FX Instruments directly with an RFED that transacted those FX Instruments directly

with one or more Defendants. Specifically, while both residing in and physically located in

Florida, Plaintiff FX Primus engaged in FX spot transactions with currency pairs including

USD/JPY, EUR/USD, EUR/JPY, and USD/CHF directly from an RFED where the RFED

purchased those FX Instruments directly from Defendants including Bank of America, Barclays,

BNP Paribas, Citigroup, Credit Suisse, Deutsche Bank, Goldman Sachs, Morgan Stanley, RBS,

RBC, SocGen, and UBS. As a result of Defendants’ illegal conduct described herein, the RFED

paid artificially inflated prices for FX Instruments purchased directly from Defendants and

Defendants’ co-conspirators, and passed on those overcharges on FX Instruments to its

customers, including Plaintiff FX Primus. Thus, Plaintiff FX Primus indirectly purchased FX

Instruments from one or more Defendants during the Class Period in Florida, and was injured as

a result of Defendants’ anticompetitive conduct alleged herein.

       15.     Plaintiff Carlos Gonzalez is an individual and resident of Broward County,

Florida.   During the Class Period defined below, Plaintiff Carlos Gonzalez transacted FX

Instruments directly with an RFED that transacted those FX Instruments directly with one or

more Defendants. Specifically, while both residing in and physically located in Florida, Plaintiff

Carlos Gonzalez engaged in FX spot transactions with currency pairs including EUR/USD,

GBP/USD, USD/CHF, EUR/CHF, USD/JPY, AUD/JPY, CHF/JPY, NZD/USD, and EUR/GBP

directly from an RFED where the RFED purchased those FX Instruments directly from

Defendants including Bank of America, Barclays, BNP Paribas, Citigroup, Credit Suisse,

Deutsche Bank, Goldman Sachs, Morgan Stanley, RBS, RBC, SocGen, and UBS. Specifically,

Plaintiff Carlos Gonzalez engaged in FX spot transactions with currency pairs including

AUD/CAD, EUR/USD, GBP/USD, USD/JPY, AUD/USD, EUR/USD, AUD/CHF, EUR/JPY,




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NZD/USD, NZD/JPY, EUR/AUD, AUD/NZD, and GBP/JPY directly with an RFED where the

RFED transacted those FX Instruments directly with Defendants including Bank of America,

Barclays, BNP Paribas, Citigroup, Credit Suisse, Deutsche Bank, Goldman Sachs, Morgan

Stanley, RBS, RBC, SocGen, and UBS. As a result of Defendants’ illegal conduct described

herein, the RFED paid artificially inflated prices for FX Instruments purchased directly from

Defendants and Defendants’ co-conspirators, and passed on those overcharges on FX

Instruments to its customers, including Plaintiff Carlos Gonzalez.     Thus, Plaintiff Carlos

Gonzalez indirectly purchased FX Instruments from one or more Defendants during the Class

Period in Florida, and was injured as a result of Defendants’ anticompetitive conduct alleged

herein. Plaintiffs FX Primus and Carlos Gonzalez are collectively referred to herein as the

“Florida Plaintiffs.”

       16.     Plaintiff Ugnius Matkus is an individual and resident of Cook County, Illinois.

During the Class Period defined below, Plaintiff Ugnius Matkus transacted FX Instruments with

several RFEDs, all of which transacted those FX Instruments directly with one or more

Defendants. Specifically, while both residing in and physically located in Illinois, Plaintiff

Ugnius Matkus engaged in FX spot transactions with currency pairs including EUR/USD,

AUD/USD, AUD/JPY, EUR/JPY, USD/CHF, CHF/JPY, and GBP/USD directly with RFEDs

where the RFEDs transacted those FX Instruments directly with Defendants including Bank of

America, Barclays, BNP Paribas, Citigroup, Credit Suisse, Deutsche Bank, Goldman Sachs,

Morgan Stanley, RBS, RBC, SocGen, and UBS. As a result of Defendants’ illegal conduct

described herein, those RFEDs paid artificially inflated prices for FX Instruments purchased

directly from Defendants and Defendants’ co-conspirators, and passed on those overcharges on

FX Instruments to their customers, including Plaintiff Ugnius Matkus. Thus, Plaintiff Ugnius




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Matkus indirectly purchased FX Instruments from one or more Defendants during the Class

Period in Illinois, and was injured as a result of Defendants’ anticompetitive conduct alleged

herein. Plaintiff Ugnius Matkus is referred to herein as the “Illinois Plaintiff.”

       17.     Plaintiff Charles G. Hitchcock III is an individual and resident of Suffolk County,

Massachusetts.    During the Class Period defined below, Plaintiff Charles G. Hitchcock III

transacted FX Instruments with several RFEDs, all of which transacted those FX Instruments

directly with one or more Defendants. Specifically, while both residing in and physically located

in Massachusetts, Plaintiff Charles G. Hitchcock III engaged in FX spot transactions with

currency pairs including GBP/JPY, EUR/USD, AUD/USD, EUR/AUD, and GBP/USD directly

with RFEDs where the RFEDs transacted those FX Instruments directly with Defendants

including Bank of America, Barclays, BNP Paribas, Citigroup, Credit Suisse, Deutsche Bank,

Goldman Sachs, Morgan Stanley, RBS, RBC, SocGen, and UBS. As a result of Defendants’

illegal conduct described herein, those RFEDs paid artificially inflated prices for FX Instruments

purchased directly from Defendants and Defendants’ co-conspirators, and passed on those

overcharges on FX Instruments to their customers, including Plaintiff Charles G. Hitchcock III.

Thus, Plaintiff Charles G. Hitchcock III indirectly purchased FX Instruments from one or more

Defendants during the Class Period in Massachusetts, and was injured as a result of Defendants’

anticompetitive conduct alleged herein.       Plaintiff Charles G. Hitchcock III purchased FX

Instruments for personal use, and his FX Instruments were not used for any business purpose.

Plaintiff Charles G. Hitchcock III is referred to herein as the “Massachusetts Plaintiff.”

       18.     Plaintiff Jerry Jacobson is an individual and resident of Wright County,

Minnesota. During the Class Period defined below, Plaintiff Jerry Jacobson transacted FX

Instruments directly with an RFED that transacted those FX Instruments directly with one or




                                                 10
more Defendants. Specifically, while both residing in and physically located in Minnesota,

Plaintiff Jerry Jacobson engaged in FX spot transactions with currency pairs including

AUD/USD, EUR/USD, GBP/USD, USD/CAD, USD/CHF, EUR/GBP, GBP/CHF, and

EUR/JPY directly with an RFED where the RFED transacted those FX Instruments directly with

Defendants including JPMorgan, Morgan Stanley, and RBS. As a result of Defendants’ illegal

conduct described herein, the RFED paid artificially inflated prices for FX Instruments

purchased directly from Defendants and Defendants’ co-conspirators, and passed on those

overcharges on FX Instruments to its customers, including Plaintiff Jerry Jacobson. Thus,

Plaintiff Jerry Jacobson indirectly purchased FX Instruments from one or more Defendants

during the Class Period in Minnesota, and was injured as a result of Defendants’ anticompetitive

conduct alleged herein.     Plaintiff Jerry Jacobson is referred to herein as the “Minnesota

Plaintiff.”

        19.     Plaintiff Tina Porter is an individual and resident of Rockingham County, North

Carolina.     During the Class Period defined below, Plaintiff Tina Porter transacted FX

Instruments directly with an RFED that transacted those FX Instruments directly with one or

more Defendants. Specifically, while both residing in and physically located in North Carolina,

Plaintiff Tina Porter engaged in FX spot transactions directly from an RFED where the RFED

purchased those FX Instruments directly from Defendants including JPMorgan, Morgan Stanley,

and RBS. As a result of Defendants’ illegal conduct described herein, the RFED paid artificially

inflated prices for FX Instruments purchased directly from Defendants and Defendants’ co-

conspirators, and passed on those overcharges on FX Instruments to its customers, including

Plaintiff Tina Porter. Thus, Plaintiff Tina Porter indirectly purchased FX Instruments from one




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or more Defendants during the Class Period in North Carolina, and was injured as a result of

Defendants’ anticompetitive conduct alleged herein.

       20.     Plaintiff Paul Vermillion is an individual and resident of Guilford County, North

Carolina. During the Class Period defined below, Plaintiff Paul Vermillion transacted FX

Instruments with several RFEDs, all of which entered into those FX Instruments directly with

one or more Defendants. Specifically, while both residing in and physically located in North

Carolina, Plaintiff Paul Vermillion engaged in FX spot transactions with currency pairs including

EUR/USD, USD/CAD, GBP/USD, AUD/USD, and EUR/JPY directly with RFEDs where the

RFEDs transacted those FX Instruments directly with Defendants including Barclays, BNP

Paribas, Citigroup, Credit Suisse, Deutsche Bank, Goldman Sachs, HSBC, JPMorgan, Morgan

Stanley, RBC, RBS, SocGen, Standard Chartered, and UBS. As a result of Defendants’ illegal

conduct described herein, those RFEDs paid artificially inflated prices for FX Instruments

purchased directly from Defendants and Defendants’ co-conspirators, and passed on those

overcharges on FX Instruments to their customers, including Plaintiff Paul Vermillion. Thus,

Plaintiff Paul Vermillion indirectly purchased FX Instruments from one or more Defendants

during the Class Period in North Carolina, and was injured as a result of Defendants’

anticompetitive conduct alleged herein.        Plaintiffs Tina Porter and Paul Vermillion are

collectively referred to herein as the “North Carolina Plaintiffs.”

II.    Defendants

       21.     Bank of America: Defendant Bank of America Corporation is a Delaware

corporation headquartered at 100 North Tryon Street, Charlotte, North Carolina 28255. Bank of

America Corporation is a multi-national banking and financial services corporation, with its

investment banking division located at the Bank of America Tower, One Bryant Park, 1111

Avenue of the Americas, New York, New York 10036. Defendant Bank of America, N.A. is a


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federally chartered national banking association headquartered at 101 South Tyron Street,

Charlotte, North Carolina 28255, and is an indirect, wholly-owned subsidiary of Bank of

America Corporation. Defendant Merrill Lynch, Pierce, Fenner & Smith Inc. is a Delaware

corporation with its headquarters at One Bryant Park, New York, New York 10036, and is a

wholly-owned subsidiary of Bank of America Corporation.            Bank of America, N.A. has

approximately 140 branches in Arizona, 900 branches in California, 550 branches in Florida, 160

branches in Illinois, 220 branches in Massachusetts, six branches in Minnesota, and 150 branches

in North Carolina. Merrill Lynch, Pierce, Fenner & Smith Inc. has nine branch offices in

Arizona, over 50 branch offices in California, over 50 branch offices in Florida, 17 branch

offices in Illinois, 13 branch offices in Massachusetts, eight branch offices in Minnesota, and 17

branch offices in North Carolina. Defendants Bank of America Corporation, Bank of America,

N.A., and Merrill Lynch, Pierce, Fenner & Smith Inc. are referred to collectively in this

Complaint as “Bank of America.”

       22.     BTMU: Defendant The Bank of Tokyo Mitsubishi UFJ Ltd. (“BTMU”) is a

Japanese company headquartered in Tokyo, Japan. BTMU’s New York Branch is BTMU’s

“traditional hub” for FX trading, and is headquartered at 1251 Avenue of the Americas, New

York, New York 10002. BTMU is registered with the New York Department of Financial

Services (“NYDFS”) as a foreign bank licensed to do business in New York through the BTMU

New York Branch. At year-end 2013, BTMU reported for its New York branch gross notional

outstanding spot FX contracts of $2.4 billion and FX derivatives of $69.8 billion, for a total of

$72.2 billion. See FOREX, 2016 WL 1268267, at *6 (S.D.N.Y. Mar. 31, 2016) (denying

BTMU’s motion to dismiss for lack of personal jurisdiction). BTMU has a branch in Los

Angeles, California and a corporate banking representative office in San Francisco, California; a




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branch in Chicago, Illinois; and representative and corporate banking offices in Minneapolis and

Minnetonka, Minnesota, respectively.

       23.     Barclays: Defendant Barclays Bank PLC is a British public limited company

headquartered in London, England. Barclays Bank PLC is licensed by the NYDFS with a

registered address at 745 Seventh Avenue, New York, New York 10019. Defendant Barclays

Capital Inc. is a wholly-owned subsidiary of Barclays Bank PLC and engages in investment

banking, wealth management, and investment management services. Barclays Capital Inc. is

headquartered at 745 7th Avenue, New York, New York 10019. Barclays Bank PLC has a

branch office in Miami, Florida. Barclays Capital, Inc. has offices in Los Angeles, Menlo Park

and San Francisco, California; an office in Miami, Florida; an office in Chicago, Illinois; and an

office in Boston, Massachusetts. Defendants Barclays Bank PLC and Barclays Capital Inc. are

referred to collectively in this Complaint as “Barclays.”

       24.     BNP Paribas: Defendant BNP Paribas Group is a French bank and financial

services company headquartered in Paris, France. BNP Paribas Group is licensed by the NYDFS

with a registered address at 787 Seventh Avenue, New York, New York 10019. BNP Paribas

North America, Inc. is a Delaware corporation headquartered at 787 Seventh Avenue, New

York, New York 10019. BNP Paribas North America, Inc. provides corporate, investment

banking, and securities brokerage services, and is an affiliate of BNP Paribas Group. Defendant

BNP Paribas Securities Corp. is a Delaware corporation with its principal place of business in

New York, New York. BNP Paribas Securities Corp. is a wholly-owned subsidiary of BNP

Paribas North America, Inc. BNP Paribas Prime Brokerage, Inc. is a Delaware corporation with

its principal place of business in New York, New York. BNP Paribas Securities Corp. has an

office in San Francisco, California; an office in Chicago, Illinois; and an office in Boston,




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Massachusetts. Defendants BNP Paribas Group, BNP Paribas North America, Inc., BNP Paribas

Securities Corp., and BNP Prime Brokerage, Inc. are referred to collectively in this Complaint as

“BNP Paribas.”

       25.     Citigroup: Defendant Citigroup Inc. is a Delaware corporation headquartered at

399 Park Avenue, New York, New York 10022. Defendant Citibank, N.A. is a federally

chartered national banking association headquartered at 399 Park Avenue, New York, New York

10022 and is a wholly-owned subsidiary of Defendant Citigroup Inc. Defendant Citicorp is a

financial services holding company organized and existing under the laws of Delaware.

Defendant Citigroup Global Markets Inc. is a wholly-owned subsidiary of Citigroup Inc.,

organized and existing under the laws of New York and headquartered at 390 Greenwich Street,

New York, New York 10013. Citibank, N.A. has approximately 300 branches in California, 50

branches in Florida, 60 branches in Illinois, and private and commercial banking offices in

Boston, Massachusetts. Citigroup Global Markets, Inc. has an office in Scottsdale, Arizona; an

office in San Francisco, California; at least one location in South Florida; an office in Naperville,

Illinois; an office in Minneapolis, Minnesota; and offices in Charlotte and Winston Salem, North

Carolina. Defendants Citigroup Inc., Citibank, N.A., Citicorp, and Citigroup Global Markets

Inc. are referred to collectively in this Complaint as “Citigroup.”

       26.     Credit Suisse: Defendant Credit Suisse Group AG is a Swiss holding company

headquartered in Zurich, Switzerland.        Defendant Credit Suisse AG is a wholly-owned

subsidiary of Credit Suisse Group AG and is a bank organized under the laws of Switzerland,

with its principal place of business located in Zurich, Switzerland. Credit Suisse AG is licensed

by the NYDFS and operates a foreign branch with a registered address at 11 Madison Avenue,

New York, New York 10010. Defendant Credit Suisse Securities (USA) LLC is a Delaware




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limited liability company headquartered at 11 Madison Avenue, New York, New York 10010,

and is a wholly-owned subsidiary of Credit Suisse Group AG. Credit Suisse Group AG has four

offices in California: two in San Francisco, one in Los Angeles, and one in San Diego. It also

has an office in West Palm Beach, Florida; an office in Chicago, Illinois; and a corporate center

in Raleigh, North Carolina. Credit Suisse Securities (USA) LLC has offices in Los Angeles and

San Francisco, California and an office in Chicago, Illinois. Defendants Credit Suisse Group AG,

Credit Suisse AG, and Credit Suisse Securities (USA) LLC are referred to collectively in this

Complaint as “Credit Suisse.”

       27.     Deutsche Bank: Defendant Deutsche Bank AG is a German financial services

company headquartered in Frankfurt, Germany. Deutsche Bank AG is licensed by the NYDFS

with a registered address at 60 Wall Street, 4th Floor, New York, New York 10005. Defendant

Deutsche Bank Securities Inc. is a Delaware corporation with its principal place of business at 60

Wall Street, New York, New York, 10005. Deutsche Bank Securities Inc. is an indirect, wholly-

owned subsidiary of Deutsche Bank AG. Deutsche Bank AG has a branch or office in each of

the following six California cities: Costa Mesa, Los Angeles, Menlo Park, Palo Alto, San

Francisco and Santa Ana. It also has two offices in Jacksonville and one in Miami, Florida; an

office in Chicago, Illinois; three offices or branches in Boston, Massachusetts; and four offices or

branches in North Carolina: three in Cary and one in Charlotte. Deutsche Bank Securities Inc.

has offices in San Francisco, Los Angeles, and Santa Ana, California; an office in Jacksonville,

Florida; an office in Chicago, Illinois; and an office in Winston Salem, North Carolina.

Defendants Deutsche Bank AG and Deutsche Bank Securities Inc. are referred to collectively in

this Complaint as “Deutsche Bank.”




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       28.    Goldman Sachs: Defendant The Goldman Sachs Group, Inc. is a Delaware

corporation headquartered at 200 West Street, New York, New York 10282. The Goldman

Sachs Group, Inc. is a bank holding company and a financial holding company. Defendant

Goldman, Sachs & Co. is a wholly-owned subsidiary of The Goldman Sachs Group, Inc. and is

its principal operating subsidiary in the United States. Goldman, Sachs & Co. is located at 200

West Street, New York, New York 10282. The Goldman Sachs Group, Inc. and Goldman, Sachs

& Co. have offices in Los Angeles and San Francisco, California; offices in Miami and West

Palm Beach, Florida; offices in Chicago, Illinois; and offices in Boston Massachusetts.

Defendants The Goldman Sachs Group, Inc. and Goldman, Sachs & Co. are referred to

collectively in this Complaint as “Goldman Sachs.”

       29.    HSBC: Defendant HSBC Bank PLC is a wholly-owned subsidiary of HSBC

Holdings PLC, and is a United Kingdom public limited company headquartered in London,

England.     Defendant HSBC North America Holdings, Inc. is a Delaware corporation

headquartered at 452 5th Avenue, New York, New York 10018, and is a wholly-owned

subsidiary of HSBC Holdings PLC. Defendant HSBC North America Holdings, Inc. is the

holding company for HSBC Bank plc’s operations in the United States. Defendant HSBC Bank

USA, N.A. is a national banking association with its principal place of business in New York,

New York, and is an indirect wholly-owned subsidiary of HSBC North America Holdings, Inc.

Defendant HSBC Securities (USA) Inc. is a Delaware corporation with its principal place of

business at 452 Fifth Avenue, New York, NY, United States. HSBC Bank USA, N.A. has 35

branch offices in California and 17 branch offices in Florida. HSBC Securities (USA) Inc. has

an office in Mettawa, Illinois. Defendants HSBC Bank PLC; HSBC North America Holdings,




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Inc.; HSBC Bank USA, N.A.; and HSBC Securities (USA) Inc. are referred to collectively in this

Complaint as “HSBC.”

       30.     JPMorgan: Defendant JPMorgan Chase & Co. is a Delaware corporation

headquartered at 270 Park Avenue, 38th Floor, New York, New York 10017.                  Defendant

JPMorgan Chase Bank, N.A. is a federally-chartered national banking association, also

headquartered at 270 Park Avenue, 38th Floor, New York, New York 10017, and is a wholly-

owned subsidiary of Defendant JPMorgan Chase & Co. JP Morgan Chase & Co. has corporate

offices in Phoenix, Arizona; Los Angeles, California; Tampa, Florida; and Chicago, Illinois. JP

Morgan Chase Bank, N.A. has approximately 250 branches in Arizona, 1,000 branches in

California, 400 branches in Florida, 360 branches in Illinois, and a limited service trust office in

Boston, Massachusetts. Defendants JPMorgan Chase & Co. and JPMorgan Chase Bank, N.A.

are referred to collectively in this Complaint as “JPMorgan.”

       31.     Morgan Stanley: Defendant Morgan Stanley is a Delaware corporation

headquartered at 1585 Broadway, New York, New York 10036. Defendant Morgan Stanley &

Co., LLC is a limited liability company organized and existing under the laws of Delaware, with

its principal place of business in New York, New York. Morgan Stanley & Co., LLC is a

wholly-owned subsidiary of Morgan Stanley. Defendant Morgan Stanley & Co. International plc

is a United Kingdom public limited company with headquarters in London, England. Morgan

Stanley has offices in Los Angeles, Menlo Park, and San Francisco, California; offices in Boca

Raton and Miami, Florida; an office in Chicago, Illinois; and an office in Boston, Massachusetts.

Defendants Morgan Stanley; Morgan Stanley & Co., LLC; and Morgan Stanley & Co.

International plc are referred to collectively in this Complaint as “Morgan Stanley.”




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         32.   RBC: Defendant RBC Capital Markets LLC (“RBC”) is a limited liability

company incorporated in Minnesota, with its principal place of business and headquarters

located at Three World Financial Center, 200 Vesey Street, 5th Floor, New York, New York

10281. Prior to 2010, RBC was RBC Capital Markets Corporation, which was also a Minnesota

corporation headquartered in New York, New York. RBC has offices in Phoenix, Arizona; Los

Angeles and San Francisco, California; Jacksonville and St. Petersburg, Florida; Chicago,

Illinois; Boston, Massachusetts; Minneapolis, Minnesota; and Charlotte, North Carolina.

         33.   RBS: Defendant The Royal Bank of Scotland PLC is a United Kingdom public

limited company headquartered in Edinburgh, Scotland and a wholly owned subsidiary of

The Royal Bank of Scotland Group PLC. Defendant Royal Bank of Scotland PLC is licensed by

the NYDFS with a registered address at 1095 Avenue of the Americas, New York, New York

10036.     Defendant RBS Securities Inc. is a Delaware corporation headquartered at 600

Washington Boulevard, Stamford, Connecticut 06901. RBS Securities Inc. has a sales and

trading office in San Francisco, California. Defendants Royal Bank of Scotland PLC and RBS

Securities, Inc., are referred to collectively in this Complaint as “RBS.”

         34.   SocGen: Defendant Société Générale S.A. (“SocGen”) is a financial services

company headquartered in Paris, France. SocGen’s New York Branch is headquartered at 1221

Avenue of the Americas, New York, New York 10020. SocGen is licensed by the NYDFS with

a registered address of 245 Park Avenue, New York, New York 10167. One of the SocGen New

York Branch’s “primary activities” is the sale of FX Instruments, and its heads of emerging

market FX trading and G10 FX trading are based in New York. At year-end 2013, SocGen

reported for its New York branch gross notional outstanding spot FX contracts of approximately

$13 million and FX derivatives of $21.6 billion. See id. (denying SocGen’s motion to dismiss




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the FX direct purchaser complaint against SocGen for lack of personal jurisdiction). According

to SocGen’s Twitter bio, SocGen opened its first office in the United States in 1938 and “is one

of the largest foreign banking organizations in the US.” SocGen has representative offices in

Irvine and Santa Monica, California; a branch office in Chicago, Illinois; and a branch office in

Boston, Massachusetts.

       35.     Standard     Chartered:     Defendant    Standard   Chartered   Bank   (“Standard

Chartered”) is incorporated under the laws of England and Wales, with headquarters in London,

England. Standard Chartered is licensed by the NYDFS with a registered address at 1095

Avenue of the Americas, New York, New York 10036. Standard Chartered’s New York Branch,

located at 1095 Avenue of the Americas, New York, New York 10036, is the headquarters for

Standard Chartered’s “Americas” business and “primarily conducts a U.S. dollar clearing

business,” including the sale of FX Instruments. At year-end 2013, Standard Chartered Bank

reported for its New York branch gross notional outstanding spot FX contracts of $1.9 billion

and FX derivatives of $141.4 billion. See id. (granting motion to dismiss the FX direct purchaser

complaint for lack of personal jurisdiction as to Standard Chartered Bank’s parent company

Standard Chartered plc, which does not conduct business in New York, but permitting an

application to substitute Standard Chartered Bank as a defendant). Standard Chartered has a

branch in San Francisco, California and at least one location in Florida.

       36.     UBS: Defendant UBS AG is a Swiss company based in Basel and Zurich,

Switzerland, and is a wholly-owned subsidiary of Defendant UBS Group AG. Defendant UBS

Group AG is a Swiss company headquartered in Zurich, Switzerland. Defendant UBS Securities

LLC is a Delaware limited liability company headquartered at 677 Washington Blvd, Stamford,

Connecticut 06901, and is a wholly-owned subsidiary of UBS AG. UBS AG has branch offices




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in Mill Valley and San Diego, California; Miami and Gainesville, Florida; and Chicago, Illinois.

UBS Securities LLC has offices in San Francisco, California and Chicago, Illinois. Defendants

UBS AG, UBS Group AG, and UBS Securities LLC are referred to collectively in this

Complaint as “UBS.”

       37.     “Defendant” or “Defendants,” as used herein, includes all Defendants named

specifically above, as well as all of the named Defendants’ predecessors, direct or indirect

parents, subsidiaries, or divisions, including entities that merged with or were acquired by the

named Defendants that played a material role in the unlawful acts alleged in this Complaint.

       38.     Whenever reference is made to any act of any corporation, the allegation means

that the corporation engaged in the act by or through its directors, officers, employees, or agents

while they were actively engaged in the management, direction, control, or transaction of the

corporation’s business or affairs.

       39.     Various other persons, firms, and corporations, that are unknown and not named

as Defendants, have participated as co-conspirators with Defendants and have performed acts

and/or made statements in furtherance of the conspiracy. Defendants are jointly and severally

liable for the acts of their co-conspirators, whether named or not the co-conspirators are named

as Defendants in this Complaint. “Co-conspirators,” as used herein, includes direct or indirect

parents, subsidiaries, and divisions of all co-conspirator entities.

                               CLASS ACTION ALLEGATIONS

       40.     The New York Plaintiff brings this action individually and as a class action

pursuant to Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure, seeking damages

against all Defendants pursuant to New York antitrust law on behalf of the following proposed

New York indirect purchaser class or subclass (the “New York Class”):




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        New York Class: All persons and entities who, between December 1, 2007 and
        December 31, 2013 (inclusive) (the “Class Period”), indirectly purchased an FX
        Instrument 4 from a Defendant or co-conspirator in New York and/or while domiciled in
        New York, by entering into an FX Instrument with a member of the Direct Settlement
        Class, 5 where the Direct Settlement Class member entered into the FX Instrument
        directly with a Defendant or co-conspirator.

        41.      The Arizona Plaintiff brings this action individually and as a class action pursuant

to Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure, seeking damages against all

Defendants pursuant to Arizona antitrust law on behalf the following proposed Arizona indirect

purchaser class or subclass (the “Arizona Class”):

        Arizona Class: All persons and entities who, during the Class Period, indirectly
        purchased an FX Instrument from a Defendant or co-conspirator in Arizona and/or while
        domiciled in Arizona, by entering into an FX Instrument with a member of the Direct
        Settlement Class, where the Direct Settlement Class member entered into the FX
        Instrument directly with a Defendant or co-conspirator.

4
 See supra note 2.
5
 “Direct Settlement Class” refers to the class of direct purchasers who purchased an FX Instrument directly from
one or more Defendants or co-conspirators, which was granted preliminarily class certification for settlement
purposes in FOREX, ECF No. 536 (“Preliminary Approval Order”). The Preliminary Approval Order defines the
Direct Settlement Class as:

        All Persons who, between January 1, 2003 and the date of the Preliminary Approval Order, entered into an
        FX Instrument directly with a Defendant, a direct or indirect parent, subsidiary, or division of a Defendant,
        a Released Party, or coconspirator where such Persons were either domiciled in the United States or its
        territories or, if domiciled outside the United States or its territories, transacted FX Instruments in the
        United States or its territories. Specifically excluded from the Direct Settlement Class are Defendants;
        Released Parties; co-conspirators; the officers, directors, or employees of any Defendant, Released Party, or
        co-conspirator; any entity in which any Defendant, Released Party, or co-conspirator has a controlling
        interest; any affiliate, legal representative, heir, or assign of any Defendant, Released Party, or co-
        conspirator and any person acting on their behalf; provided, however, that Investment Vehicles shall not be
        excluded from the definition of the Direct Settlement Class. Also excluded from the Direct Settlement
        Class are any judicial officer presiding over this action and the members of his/her immediate family and
        judicial staff, and any juror assigned to this Action.

See also infra at Factual Allegations, Section V (“Direct Purchaser Litigation and Settlements”). The Preliminary
Approval Order also certified an “Exchange-Only Settlement Class” comprised of persons and entities that entered
into an FX Exchange-Traded Instrument directly on a U.S. exchange. Although the Direct Class Settlement and the
Exchange-Only Class Settlement (collectively, the “Direct/Exchange-Only Settlements”) were entered into only
between the Direct Purchaser Class Plaintiffs and the “Settling Defendants,” the Direct Settlement Class is defined
to include all direct purchasers who entered into an FX instrument with any Defendant named in FOREX, including
the “Non-Settling Defendants.” See, e.g., FOREX, ECF No. 653-2 (Direct Purchaser Class Plaintiffs' Proposed
Notice) (defining “Settling Defendants” and “Non-Settling Defendants” collectively as “Defendants”). The
Defendants referred to in the Direct Settlement Class definition (including both the Settling Defendants and the
Non-Settling Defendants) are identical to the Defendants named in this Complaint.



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       42.     The California Plaintiffs bring this action individually and as a class action

pursuant to Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure, seeking damages

against all Defendants pursuant to California antitrust and consumer protection laws on behalf

the following proposed California indirect purchaser class or subclass (the “California Class”):

       California Class: All persons and entities who, during the Class Period, indirectly
       purchased an FX Instrument from a Defendant or co-conspirator and were thereby injured
       in California by entering into an FX Instrument with a member of the Direct Settlement
       Class, where the Direct Settlement Class member entered into the FX Instrument directly
       with a Defendant or co-conspirator.

       43.     The Florida Plaintiffs bring this action individually and as a class action pursuant

to Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure, seeking damages against all

Defendants except for Bank of America, N.A.; HSBC Bank USA, N.A.; and JPMorgan Chase

Bank, N.A.; pursuant to Florida consumer protection law on behalf the following proposed

Florida indirect purchaser class or subclass (the “Florida Class”):

       Florida Class: All persons and entities who, during the Class Period, indirectly
       purchased an FX Instrument from a Defendant or co-conspirator in Florida and/or while
       domiciled in Florida, by entering into an FX Instrument with a member of the Direct
       Settlement Class, where the Direct Settlement Class member entered into the FX
       Instrument directly with a Defendant or co-conspirator.

       44.     The Illinois Plaintiff brings this action individually and as a class action pursuant

to Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure, seeking damages against all

Defendants except for Bank of America, N.A.; HSBC Bank USA, N.A.; and JPMorgan Chase

Bank, N.A.; pursuant to Illinois antitrust law on behalf the following proposed Illinois indirect

purchaser class or subclass (the “Illinois Class”):

       Illinois Class: All persons and entities who, during the Class Period, indirectly purchased
       an FX Instrument from a Defendant or co-conspirator in Illinois and/or while domiciled
       in Illinois, by entering into an FX Instrument with a member of the Direct Settlement
       Class, where the Direct Settlement Class member entered into the FX Instrument directly
       with a Defendant or co-conspirator.



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       45.     The Massachusetts Plaintiff brings this action individually and as a class action

pursuant to Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure, seeking damages

against all Defendants pursuant to Massachusetts consumer protection law on behalf the

following proposed Massachusetts indirect purchaser class or subclass (the “Massachusetts

Class”):

       Massachusetts Class: All persons and entities who, during the Class Period, indirectly
       purchased an FX Instrument from a Defendant or co-conspirator in Massachusetts and/or
       while domiciled in Massachusetts, by entering into an FX Instrument with a member of
       the Direct Settlement Class, where the Direct Settlement Class member entered into the
       FX Instrument directly with a Defendant or co-conspirator.

       46.     The Minnesota Plaintiff brings this action individually and as a class action

pursuant to Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure, seeking damages

against all Defendants pursuant to Minnesota antitrust law on behalf the following proposed

Minnesota indirect purchaser class or subclass (the “Minnesota Class”):

       Minnesota Class: All persons and entities who, during the Class Period, indirectly
       purchased an FX Instrument from a Defendant or co-conspirator in Minnesota and/or
       while domiciled in Minnesota, by entering into an FX Instrument with a member of the
       Direct Settlement Class, where the Direct Settlement Class member entered into the FX
       Instrument directly with a Defendant or co-conspirator. The Minnesota Class seeks relief
       against all Defendants here.

       47.     The North Carolina Plaintiffs bring this action individually and as a class action

pursuant to Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure, seeking damages

against all Defendants pursuant to North Carolina antitrust law on behalf the following proposed

North Carolina indirect purchaser class or subclass (the “North Carolina Class”):

       North Carolina Class: All persons and entities who, during the Class Period, indirectly
       purchased an FX Instrument from a Defendant or co-conspirator and were thereby injured
       in North Carolina, by entering into an FX Instrument with a member of the Direct
       Settlement Class, where the Direct Settlement Class member entered into the FX
       Instrument directly with a Defendant or co-conspirator.




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        48.     The proposed New York, Arizona, California, Florida, Illinois, Massachusetts,

Minnesota, and North Carolina Classes are referred to collectively herein as the “State Classes.”

        49.     Excluded from the Classes are Defendants and their co-conspirators; the officers,

directors, and employees of any Defendant or co-conspirator; any entity in which any Defendant

or co-conspirator has a controlling interest; any affiliate, legal representative, heir, or assign of

any Defendant or co-conspirator; federal, state, and municipal government entities and agencies;

any judicial officer presiding over this action and the members of his/her immediate family and

judicial staff; and any juror assigned to this action.

        50.     Also excluded from the Classes are all indirect purchases of FX Instruments

where the direct purchaser was operating outside of the U.S. at the time the direct purchase was

made and the purchase was made with the foreign desk of a Defendant.

        51.     While Plaintiffs do not know the exact number of the members of the proposed

Classes, Plaintiffs believe there are (at least) thousands of members in each Class. The Classes

are readily ascertainable from existing records of members of the Direct Settlement Class.

        52.     Plaintiffs’ claims are typical of the claims of the members of the Classes.

Plaintiffs and members of the Classes sustained damages arising out of Defendants’ common

course of conduct in violation of federal antitrust laws, state antitrust laws, and state consumer

protection laws.

        53.     Common questions of law and fact exist as to all members of the Classes. This is

particularly true given the nature of Defendants’ and their co-conspirators’ conspiracy, which

was generally applicable to all members of the Classes, thereby making appropriate relief with

respect to each Class as a whole. Such questions of law and fact common to the Classes include,

but are not limited to:




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               a.     Whether Defendants and their co-conspirators engaged in a combination

and conspiracy among themselves to fix, raise, maintain, or stabilize the prices of FX

Instruments sold in the United States;

               b.     The identities of the participants of the alleged conspiracy;

               c.     The duration of the alleged conspiracy and the acts carried out by

Defendants and their co-conspirators in furtherance of the conspiracy;

               d.     Whether the alleged conduct of Defendants and their co-conspirators

caused injury to Plaintiffs and the members of the Classes;

               e.     The effects of the alleged conspiracy on the prices of FX Instruments sold

in the United States during the Class Period;

               f.     Whether Plaintiffs and the members of the Classes had any reason to know

or suspect the conspiracy, or any means to discover the conspiracy;

               g.     Whether Defendants and their co-conspirators fraudulently concealed the

conspiracy’s existence from Plaintiffs and the members of the Classes;

               h.     For the New York Class, whether the alleged conspiracy violated New

York General Business Laws § 340, et seq. (the Donnelly Act), as alleged in the First Claim for

Relief, and the appropriate class-wide measures of damages and related equitable relief for such

violations;

               i.     For the Arizona Class, whether the alleged conspiracy violated Arizona

Revised Statutes, §§ 44-1401, et seq. (the Arizona Antitrust Act), as alleged in the Second Claim

for Relief, and the appropriate class-wide measures of damages and related equitable relief for

such violations;




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               j.      For the California Class, whether the alleged conspiracy violated

California Business and Professions Code § 16720, et seq. (the Cartwright Act), as alleged in the

Third Claim for Relief, and the appropriate class-wide measures of damages and related

equitable relief for such violations;

               k.      For the California Class, whether the alleged conspiracy violated

California Business and Professions Code § 17200, et seq. (California’s Unfair Competition

Law), as alleged in the Fourth Claim for Relief, and the appropriate class-wide measures of

damages and related equitable relief for such violations;

               l.      For the Florida Class, whether the alleged conspiracy violated Fla. Stat. §

501.201, et seq. (the Florida Deceptive and Unfair Trade Practices Act), as alleged in the Fifth

Claim for Relief, and the appropriate class-wide measures of damages and related equitable relief

for such violations;

               m.      For the Illinois Class, whether the alleged conspiracy violated 740 Ill.

Comp. Stat. 10/1, et seq. (the Illinois Antitrust Act), as alleged in the Sixth Claim for Relief, and

the appropriate class-wide measures of damages and related equitable relief for such violations;

               n.      For the Massachusetts Class, whether the alleged conspiracy violated

Mass. Gen. Laws ch. 93A, §1 et seq. (the Massachusetts Consumer Protection Act), as alleged in

the Seventh Claim for Relief, and the appropriate class-wide measures of damages and related

equitable relief for such violations; and

               o.      For the Minnesota Class, whether the alleged conspiracy violated Minn.

Stat. §§ 325D.49 to 325D.66 (the Minnesota Antitrust Law of 1971), as alleged in the Eighth

Claim for Relief, and the appropriate class-wide measures of damages and related equitable relief

for such violations.




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               p.      For the North Carolina Class, whether the alleged conspiracy violated

N.C. Gen. Stat. § 75-1, et seq. (the North Carolina Unfair Trade Practice Act), as alleged in the

Ninth Claim for Relief, and the appropriate class-wide measures of damages and related

equitable relief for such violations.

       54.     Plaintiffs’ claims are typical of the claims of the members of the Classes, and

Plaintiffs will fairly and adequately protect the interests of the Classes.     Plaintiffs and all

members of the Classes were similarly affected by Defendants’ wrongful conduct in that they

were overcharged for FX Instruments purchased indirectly from Defendants and/or Defendants’

co-conspirators.

       55.     Plaintiffs’ claims arise out of the same common course of conduct giving rise to

the claims of the other members of the Classes. Plaintiffs’ interests are coincident with, and not

antagonistic to, those of the other members of the Classes. Plaintiffs are represented by counsel

who are competent and experienced in the prosecution of antitrust and class action litigation.

       56.     The questions of law and fact common to the members of the Classes

predominate over any questions affecting only individual members, including legal and factual

issues relating to liability and damages.

       57.     Class action treatment is the superior method for the fair and efficient

adjudication of the controversy, in that, among other things, such treatment will permit a large

number of similarly situated persons to prosecute their common claims in a single forum

simultaneously, efficiently, and without the unnecessary duplication of evidence, effort and

expense that numerous individual actions would engender.      The benefits of proceeding through

the class mechanism, including providing injured persons or entities with a method for obtaining




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redress for claims that might not be practicable to pursue individually, substantially outweigh

any difficulties that may arise in the management of this class action.

       58.     The prosecution of separate actions by individual members of the Classes would

create a risk of inconsistent or varying adjudications, establishing incompatible standards of

conduct for the Defendants.

                                  FACTUAL ALLEGATIONS

I.     OVERVIEW OF THE FX MARKET

       A.      Background

       59.     The FX market is the global financial market in which currencies are traded. It is

the largest, most actively traded, and most liquid financial market in the world. Global FX

trading grew from an average of $1.9 trillion per day in April 2004 to $5.3 trillion per day in

April 2013. According to a report by the Bank for International Settlements (BIS), this rapid

growth in trading volume was due in part to increased market participation by “the emergence of

retail investors,” including individuals and smaller institutions.

       60.     There are over 200 different currencies used around the world, each with a

distinct three-letter currency code used by FX traders. The ten most heavily traded currencies in

the world—called the “Group of 10,” or “G10” currencies—are the U.S. dollar (USD), the

Canadian dollar (CAD), the euro (EUR), the British pound (GBP), the Swiss franc (CHF), the

New Zealand dollar (NZD), the Australian dollar (AUD), the Japanese yen (JPY), the Norwegian

krone (NOK), and the Swedish krona (SEK).

       61.     The market for facilitating and executing FX trades is highly concentrated. A

large majority of all FX trades are transacted by Defendants. Other market participants include

smaller dealer banks, central banks, smaller commercial banks, credit card companies and their




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customers, non-financial corporations, insurance companies, investment funds, and individual

investors.

         62.   The FX traders employed by Defendants were part of a geographically and

socially concentrated group. They lived in close proximity, attended the same social gatherings,

and communicated frequently.       The close social and professional ties among FX traders

facilitated and provided incentives for the conspiracy alleged herein. As one former Citigroup

trader acknowledged, “[t]his is a market in which price fixing and collusion could actually

work.”

         63.   FX trades may be conducted either over-the-counter (“OTC”) directly with

another party, or on a centralized exchange. During the Class Period, approximately 98 percent

of FX trading occurred OTC, and a majority of those trades involved one or more Defendants.

The remaining 2 percent of all FX trades during the Class Period were made on U.S. exchanges.

         64.   The OTC FX market is open and actively traded 24 hours a day during the week.

The FX market opens Monday at 7 a.m. local time in New Zealand. One hour later, Sydney

opens, followed by Tokyo, Hong Kong, and Singapore. Later, trading shifts to Europe, where

the main financial centers are London, Frankfurt, Zürich, Geneva, Paris, and Milan. New York

and London (the two largest FX trading centers) are open simultaneously for four hours, between

8:00 a.m. and 12:00 p.m. U.S. Eastern Time (“ET”), which is between 1:00 p.m. and 5:00 p.m.

London time. The New York FX market is open from 8:00 a.m. ET to 5:00 p.m. ET, and

London is open from 3:00 a.m. to 12:00 p.m. ET.

         65.   FX market centers officially close at 5:00 p.m. local time, but the market does not

close during the week because, except on Friday, the new trading day starts immediately in other

cities. With the advent of electronic trading, it is possible to place FX trades over the weekends.




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       66.     Like the OTC market, trading on centralized U.S. financial exchanges is available

24 hours a day. The two most actively traded U.S. FX exchanges are the Chicago Mercantile

Exchange (“CME”) and the Intercontinental Exchange (“ICE”).

       67.     Currencies are bought or sold in “currency pairs” of two different currencies. The

price to buy or sell a given currency pair is reflected by its exchange rate. For example,

EUR/USD refers to the exchange rate for the purchase or sale of euros in exchange for U.S.

dollars. In April 2013, the four most-traded currency pairs were EUR/USD (24.1 percent of all

net FX trade volume), USD/JPY (18.3 percent), GBP/USD (8.8 percent), and AUD/USD (6.8

percent). Approximately 86.9 percent of daily FX trading in April 2013 had the U.S. dollar on

one side of the currency pair.

       68.     The advent of electronic FX trading has had a substantial impact on the FX

market. Although large bank dealers such as Defendants still account for a large majority of all

trades, electronic trading has enabled smaller companies and individuals to trade FX. Electronic

trading also enabled traders to employ new FX trading strategies. Large, sophisticated traders

have employed strategies such as rapid-fire arbitrage and algorithmic trading. Electronic trading

also enhanced the ability of Defendants and co-conspirators to collusively manipulate FX

benchmark rates, as alleged herein.

       69.     Traders in the FX market engage in several types of transactions. According to

the BIS, the four most common types of FX transactions are:

               a.      Spot transaction – an agreement to exchange sums of currency at an
                       agreed-upon exchange rate on a value date that is within two business
                       days’ time;

               b.      Forward outright transaction – an agreement to exchange sums of
                       currency at an agreed-upon exchange rate on a value date that will be in
                       more than two business days’ time;




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               c.      Forward swap – a spot transaction plus a forward outright transaction, at
                       a different exchange rate and in the reverse direction; and

               d.      Currency option – a “put” or a “call” option contract on a specified
                       quantity of FX. A “put” option contract gives the owner the right to sell a
                       specified quantity of currency at a specified exchange rate. A “call”
                       option contract gives the holder the right to buy a specified quantity of
                       currency at a specified rate.

       70.     In 2013, forward swaps accounted for 42 percent of the total FX trade volume.

Spot transactions accounted for 38 percent, forward outrights accounted for 13 percent, and

currency options and other FX transactions accounted for 7 percent.

       71.     Spot transactions occur in the private OTC market, which is dominated by

Defendants. To initiate a spot transaction, a customer contacts a dealer bank, such as one of the

Defendants, for a quote. These dealer banks are known as “market makers” or “liquidity

providers.”

       72.     A spot transaction occurs when one party contacts a dealer for a “bid-ask” quote

on a designated quantity of currency, and the party accepts the dealer’s quote. The “bid” is the

price at which the dealer is willing to buy a given quantity of currency, and the “ask” is the price

at which the dealer is willing to sell the same quantity of currency. FX dealers provide exchange

rate quotes on demand.

       73.     Dealers generally provide quotes for USD and EUR to four decimal points, with

the final digit known as a “percentage in point” or “pip.” For example, suppose EUR/USD is

quoted 1.1952-1.1954 on $10 million. The first number, 1.1952, is the bid, and the second,

1.1954, is the ask. The party receiving the quote can either sell $10 million USD and receive

€8,366,800.54 EUR ($1.1952 per Euro) in exchange, or purchase $10 million USD for

€8,365,400.70 EUR ($1.1954 per Euro).




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       74.      The difference between the bid and the ask is called the “bid-ask spread.” The

bid-ask spread enables FX dealers to profit from FX trades by buying and selling FX at different

exchange rates.

       75.      FX traders can execute FX spot transactions by a direct telephone call, by sending

an electronic request to a dealer, or through an electronic trading system. Electronic trading

systems are computer trading platforms that customers can use to execute orders with dealers

over a network. Electronic trading systems can be proprietary platforms operated by a single

dealer, or a multi-bank platforms that allows customers to trade with multiple dealers. Major

multi-bank FX trading platforms include Reuters, Bloomberg, EBS, Hotspot, and Currenex.

       76.      Dealer banks employ salespeople to interact with customers through electronic

platforms, electronic messages, and telephone calls. Dealer banks also employ FX currency

traders to oversee bid-ask quotes and process trades. A dealer’s salespeople and traders are in

constant communication. Salespeople inform the traders of incoming potential orders, confirm

bid-ask quotes, and convey orders to the trading desk for processing.              Traders receive

information about potential and pending trades before the trades are actually processed. Traders

also record and analyze their customers’ trading histories. As a result, dealers can often predict a

customer’s trading patterns, even before a customer places an order.

       77.      Entities such as RFEDs that trade FX Instruments directly with dealer banks, such

as Defendants, often resell those instruments to retail FX customers, such as individual and non-

dealer entity customers, i.e., Plaintiffs.   Retail FX customers such as Plaintiffs, trade FX

Instruments with RFEDs for a variety of purposes, including long and short-term investing,

portfolio diversification, and to hedge their foreign investments against risks of foreign currency

fluctuations.




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          78.   Spot transaction exchange rates are the foundation for pricing of all FX

Instruments.    The prices for forward outright trades, forward swap trades, currency option

contracts, and all other FX Instruments are all derived from the underlying FX spot rates.

          79.   Because all FX transactions are affected by spot prices, Defendants’ manipulation

of benchmark spot rates had widespread effects on all FX transactions throughout the Class

Period.

          B.    Benchmark Rates

          80.   In placing FX spot trades, direct-purchaser customers often use what are called

benchmark rates, daily fixing rates, or “Fixes.” A Fix is a published exchange rate based on FX

trades placed in a moment in time or a short interval of time. Several Fixes are published by

private parties and central banks. To place an order at a Fix, a direct-purchaser customer gives

an FX dealer instructions to buy or sell a quantity of currency at a specific Fix. The dealer

guarantees execution at whatever rate the Fix is later posted.

          81.   The Fixes have widespread effects on all FX transactions. Many businesses—

including credit card companies, consumer banks, and credit unions—determine the rates at

which they sell FX to their customers based on the Fixes.

          82.   Prior to the publishing of the Fixes, customers will place orders with dealers to

buy or sell a specific quantity of FX at a specified Fix. Because these orders are placed in

advance of the fixing rates being published, dealers that accept spot trade orders at the Fixes are

exposed to unexpected movements in currency prices.

          83.   Dealers can take advantage of the interim between the time a customer places a

fixing rate order and the time a Fix is published. If a dealer is able to buy the ordered quantity of

currency at a price that is less than the fixing rate, the dealer profits from the customer’s order.

However, if a dealer pays more than the fixing rate, it loses money on the order.


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       84.      Because the Fixes are so widely recognized as benchmark rates in the FX market,

they play a crucial role in FX trading and in the pricing of all FX Instruments.

                1.     WM/Reuters

       85.      While there are a number of published Fixes available to FX market participants,

the most widely used Fix is the WM/Reuters Closing Spot Rates (the “WM/Reuters Fix” or

“4:00 p.m. Fix”), which are set at 4:00 p.m. London time (11:00 a.m. New York time).

WM/Reuters is a joint venture between the WM Company (a wholly-owned subsidiary of State

Street Corporation) and Thomson Reuters Corporation. The WM/Reuters Closing Spot Rates are

widely used because they are set around the time when the FX market is most liquid – near the

end of the trading day in London, while the New York market is also open. WM/Reuters

calculates fixing rates for major currencies every half hour from 6:00 a.m. in Hong

Kong/Singapore to 10:00 p.m. in the U.K., and they publish fixing rates for spot and forward

transactions.

       86.      WM/Reuters calculates the 4:00 p.m. Fix based on actual bids and offers placed

on certain electronic trading systems during a one-minute window (“the fix period”). The fix

period begins 30 seconds before 4:00 p.m. London time and ends 30 seconds after. WM/Reuters

uses bids and offers placed on the Currenex, Reuters Dealing 3000, and EBS electronic trading

systems.

       87.      The consolidation of trading information and calculation of the 4:00 p.m. Fix rates

is automated. Throughout the Class Period, WM/Reuters calculated the 4:00 p.m. Fix rates

based on the median exchange rates of the FX transactions placed during the fix period, but the

volumes of those trades placed during the fix period were not taken into account. This made the

4:00 p.m. Fix especially vulnerable to concerted manipulation.




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       88.       WM/Reuters also provides fix rates for FX forwards, which are published as

premiums or discounts to the WM/Reuters spot rates. Thus, when the WM/Reuters Fix rates

were manipulated by Defendants, WM/Reuters forward fix rates were also directly affected.

                 2.      The ECB Rates

       89.       The European Central Bank (“ECB”) reference rate provides FX spot rate Fixes

for currency pairs that are traded against the euro. After the WM/Reuters Fixes, the ECB

reference rates (“ECB Fix” or “1:15 p.m. Fix”) are the second-most widely used global FX

benchmark rate.

       90.       The ECB publishes the exchange rates for various euro-denominated currency

pairs, as determined by the European Central Bank, based on FX spot trades placed at or around

1:15 p.m. GMT. For each currency pair, the ECB publishes one rate for the 1:15 p.m. Fix. The

ECB Fixes are published on the ECB’s website shortly after they are calculated.

       C.        The FX Market Is Concentrated and Dominated by Defendants

       91.       Beginning in the late 1990s, the FX market experienced a significant increase in

concentration.

       92.       Defendants dominated the FX market throughout the Class Period, and continue

to do so today. In 2013, Defendants collectively controlled more than 90 percent of the global

FX market.        According to the 2012 and 2013 FX Surveys by industry publication

EUROMONEY, the individual and aggregate shares of the global FX market for Defendants and

their affiliated corporations in 2012 and 2013 were, respectively:

                      Defendant                  2012 Market         2013 Market
                                                 Share (Rank)        Share (Rank)
                      Deutsche Bank               14.57% (1)          15.18% (1)
                      Citigroup                   12.26% (2)          14.90% (2)
                      Barclays                    10.95% (3)          10.24% (3)
                      UBS                         10.48% (4)          10.11% (4)



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                   HSBC                            6.72% (5)           6.93% (5)
                   JPMorgan                        6.60% (6)           6.07% (6)
                   RBS                             5.86% (7)           5.62% (7)
                   Credit Suisse                   4.68% (8)           3.70% (8)
                   Morgan Stanley                  3.52% (9)           3.15% (9)
                   Goldman Sachs                  3.12% (10)          2.75% (11)
                   BNP Paribas                    2.63% (11)          2.52% (12)
                   Bank of America                2.41% (12)          3.08% (10)
                   SocGen                         1.76% (13)          1.57% (13)
                   Standard Chartered             0.89% (18)          0.91% (17)
                   RBC                            0.84% (19)          0.88% (18)
                   BTMU                           0.24% (30)          0.31% (23)
                   Defendants’
                   Aggregate Market                 90.86%             90.92%
                   Share:

       93.     The FX market in the U.S. is even more concentrated and dominated by

Defendants than the FX global market. According to the Federal Reserve Bank of New York,

the top ten banks in April 2013 were responsible for 98 percent of all FX spot trade volume in

the United States, and the top five banks alone accounted for 80 percent. According to the

Foreign Exchange Committee’s April 2012 survey of the North American FX market, the five

largest FX dealers in North America had a 75 percent market share for spot transactions, and a

61.2 percent market share for all forward outright transactions. The next five largest dealers had

a 17.7 percent market share for spot transactions and a 26.5 percent market share for forward

outright transactions.

       94.     Traders employed by Defendants have significant influence on the FX market.

Collectively, these traders account for a substantial majority of all FX trades. Defendant traders

are a small, interconnected group. Many have worked with one another in prior trading jobs, and

traders frequently communicate and socialize with traders at other Defendant banks. The strong

familiarity among traders facilitated Defendants’ collusive conduct alleged herein.




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       D.      The FX Market Is Susceptible to Collusion

       95.     The global FX market lacks a central organizing body, making it one of the least

regulated financial markets in the world. Most trading takes place in the OTC market, away

from centralized exchanges.

       96.     No centralized exchange or institution publishes real-time trade information for

the OTC market. Defendants’ proprietary dealing platforms allow their traders to view real-time

orders and trade volume data, but Defendants do not make this information available to private

traders. Absent an agreement to collude, each individual Defendant would not have access to

information about other Defendants’ trade orders, and it would be in the economic interest of

each Defendant to keep its own trade data confidential.

       97.     Based on trade volume and price information from FX trades, Defendants can

analyze trading patterns, predict the direction of FX market movements, and exploit that

information. A single dealer can only predict FX trading patterns if it has access to a large

sample size of FX trading data. Private traders do not have this proprietary trading data, and are

therefore unable to analyze and accurately predict FX trading patterns.

       98.     Defendants’ ability to predict and exploit FX trading patterns substantially grows

when they share confidential trade information with one another.

       99.     Throughout the Class Period, Defendants maintained internal accounts allocable

to individual FX traders, sometimes called “P-books,” that allowed traders to trade and speculate

on FX with bank funds. Revenues generated in an individual trader account accrued to the

benefit of the trader’s employer bank, and those revenues were taken into account by Defendants

for purposes of evaluating and determining each trader’s performance, promotion potential,

salary, and bonuses. Because aggregate trade data from multiple Defendants allows traders to

predict and manipulate the movement of the market around the times of the Fixes, Defendants’


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maintenance of these “P-book” accounts incentivized traders to collude with traders at other

Defendant dealers to manipulate FX rates.

       100.    The sharing of confidential customer FX information by FX traders violates the

Federal Reserve Bank of New York’s “Guidelines for Foreign Exchange Trading Activities.”

However, throughout the Class Period, Defendants lacked adequate procedures and safeguards to

prevent trader collusion.

       101.    Defendant traders involved in the sharing of confidential information to predict

and manipulate FX exchange rates included high-level employees such as the former global head

of FX cash trading at HSBC, the head of HSBC’s FX cash trading operations for Europe, the

global head of spot trading at Barclays, the director of emerging markets FX trading at Barclays,

the director of emerging markets FX trading at BNP Paribas, the head of European spot FX

trading at Citigroup, and the head of FX spot trading at JPMorgan. In several instances where

Defendant supervisors were explicitly made aware that employees were sharing confidential

customer information, Defendants took no disciplinary action or delayed disciplinary action until

several years later, when Defendants’ knowledge of this conduct was revealed to government

investigators and the public.

       102.    The FX traders employed by Defendants are a small, highly interconnected group.

Even at the largest banks, FX trading desks are typically staffed with less than ten traders, many

of whom have worked previously with their counterparts in other banks.

       103.    With Defendants’ dominant collective market share, a lack of government

regulation, high barriers to entry, institutional incentives for traders to cheat, close social and

professional ties among FX traders, and limited non-dealer access to pricing and trade

information, the unique characteristics of the FX market make it highly susceptible to collusive




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activity. As a former Citigroup trader noted, “[t]his is a market in which price fixing and

collusion could actually work.”

II.    DEFENDANTS CONSPIRED TO FIX FX PRICES

       104.       Beginning on or before December 1, 2007, Defendants conspired with one

another to fix prices in the FX market on a daily basis. In furtherance of the conspiracy,

Defendants manipulated the exchange rates of over two dozen of the most frequently traded

currency pairs.

       105.       Defendants’ conspiracy involved, inter alia: (1) the fixing of FX bid-ask spreads;

and (2) the fixing of benchmark FX rates, including, but not limited to, the WM/Reuters Fixes

and the ECB Fixes.

       106.       In furtherance of their conspiracy, Defendants: (1) created and participated in chat

rooms and other forms of electronic communication; (2) shared confidential client and

proprietary trading information with other Defendants involved in the conspiracy; (3)

coordinated trades with other Defendants in order to illegally manipulate FX benchmark rates

and spot rates; (4) monitored the trades placed by traders employed by co-conspirator

Defendants in order to ensure compliance with the conspiracy; and (5) used code names, code

words, and deliberate misspellings in efforts to evade detection.

       107.       As a result of Defendants’ conspiracy, Plaintiffs and the members of the proposed

Classes were injured in the form of overcharges on FX Instruments purchased indirectly from

one or more Defendants or co-conspirators during the Class Period.




                                                   40
         A.     Defendants Conspired to Fix Prices and Carried Out the Conspiracy through
                Electronic Communications

         108.   Defendants’ top-level traders held secret online meetings in chat rooms

throughout the Class Period. Plaintiffs are aware of thousands of electronic communications

made between traders employed by dozens of banks, including each Defendant, in which traders

coordinated trades and exchanged information about orders, spreads, exchange rates, and Fixes.

For example:

                a.    Bank of America participated in chat rooms discussing the U.S. dollar

(USD), euro (EUR), Japanese yen (JPY), Australian dollar (AUD), Swiss franc (CHF), and

South African rand (ZAR).

                b.    Barclays participated in chat rooms discussing the U.S. dollar (USD), euro

(EUR), British pound (GBP), Japanese yen (JPY), Swiss franc (CHF), Australian dollar (AUD),

Canadian dollar (CAD), Russian ruble (RUB), and South African rand (ZAR).

                c.    BNP Paribas participated in chat rooms discussing the U.S. dollar (USD),

euro (EUR), Japanese yen (JPY), Russian ruble (RUB), Mexican peso (MXN), and Thai baht

(THB).

                d.    BTMU participated in chat rooms discussing the U.S. dollar (USD), euro

(EUR), Japanese yen (JPY), and Swiss franc (CHF).

                e.    Citigroup participated in chat rooms discussing the U.S. dollar (USD),

euro (EUR), British pound (GBP), Japanese yen (JPY), Australian dollar (AUD), New Zealand

dollar (NZD), and South African rand (ZAR).

                f.    Deutsche Bank participated in chat rooms discussing the U.S. dollar

(USD), euro (EUR), the British pound (GBP), Japanese yen (JPY), Swiss franc (CHF),

Australian dollar (AUD), New Zealand dollar (NZD), Canadian dollar (CAD), Russian ruble



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(RUB), South African rand (ZAR), Chinese yuan (CNY), Czech koruna (CZK), Hong Kong

dollar (HKD), Singapore dollar (SGD), Turkish lira (TRY), Indonesian rupiah (IDR), Indian

rupee (INR), and South Korean won (KRW).

              g.       Goldman Sachs participated in chat rooms discussing the U.S. dollar

(USD), euro (EUR), British pound (GBP), and Australian dollar (AUD).

              h.       HSBC participated in chat rooms discussing the U.S. dollar (USD), euro

(EUR), British pound (GBP), Swiss franc (CHF), Russian ruble (RUB), Mexican peso (MXN),

and Thai baht (THB).

              i.       JPMorgan participated in chat rooms discussing the U.S. dollar (USD),

euro (EUR), British pound (GBP), and Swiss franc (CHF).

              j.       Credit Suisse participated in chat rooms discussing the U.S. dollar (USD),

euro (EUR), British pound (GBP), Australian dollar (AUD), Swiss franc (CHF), Czech koruna

(CZK), and South African rand (ZAR).

              k.       Morgan Stanley participated in chat rooms discussing the U.S. dollar

(USD), euro (EUR), British pound (GBP), and Japanese yen (JPY).

              l.       RBC participated in chat rooms discussing the U.S. dollar (USD), euro

(EUR), Australian dollar (AUD), New Zealand dollar (NZD), Canadian dollar (CAD), Swiss

franc (CHF), and Japanese yen (JPY).

              m.       RBS participated in chat rooms discussing the U.S. dollar (USD), euro

(EUR), British pound (GBP), Japanese yen (JPY), Swiss franc (CHF), Australian dollar (AUD),

and New Zealand dollar (NZD).




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                n.    SocGen participated in chat rooms discussing the U.S. dollar (USD), euro

(EUR), Australian dollar (AUD), Polish zloty (PLN), Brazilian real (BRL), Mexican peso

(MXN), Chinese yuan (CNY), Israeli shekel (ILS), and Thai baht (THB).

                o.    Standard Chartered participated in chat rooms discussing the U.S. dollar

(USD), euro (EUR), Japanese yen (JPY), and Brazilian real (BKL).

                p.    UBS participated in chat rooms discussing the U.S. dollar (USD), euro

(EUR), British pound (GBP), Japanese yen (JPY), Swiss franc (CHF), Australian dollar (AUD),

New Zealand dollar (NZD), Canadian dollar (CAD), Chinese yuan (CNY), Singapore dollar

(SGD), South Korean won (KRW), and Taiwan dollar (TWD).

         109.   The secret chat rooms were controlled by Defendants’ top-level traders.

Defendants referred to chat groups with names such as “The Cartel,” “The Bandits’ Club,” “One

Team, One Dream,” “the 3 musketeers,” “the A-team,” “The players,” “the Essex Express,” and

“The Mafia.” The “Essex Express” focused on trading Japanese yen and included traders from

UBS, Barclays, RBS, and BTMU. “The Mafia” included traders from Citigroup, Credit Suisse,

and UBS. “The Cartel” included traders at Barclays, UBS, Citigroup, and JPMorgan.

         110.   Defendant traders participating in these secret chat rooms shared their

“positions”—the amount of a specific currency that they had orders to trade at the Fix—prior to

the WM/Reuters Fix and other Fixes. For example, that was uncovered by the Commodities

Futures Trading Commission (“CFTC”) in its investigation into Defendants’ conduct, traders at

RBS, HSBC, and an undisclosed third bank shared their positions prior to 4:00 p.m., then

congratulated each other on successfully manipulating the rate after the 4:00 p.m. Fix:

Trader          Time                   Message
RBS             3:45:35 p.m.           im getting abt 80 quid now…fixing
HSBC            3:45:54 p.m.           my ny 100 quid
RBS             3:51:19 p.m.           getting more than u now [HSBC Trader] betty


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HSBC           3:51:26 p.m.             ok thx
Bank W         3:52:23 p.m.             nice job gents
HSBC           3:54:16 p.m.             [RBS Trader], just matched with [Bank 1] and [Bank 2]
                                        for 100, still lhs in about 140
RBS            3:54:26 p.m.             Cool
Bank Z         4:00:58 p.m.             i don my hat
Bank W         4:01:08 p.m.             what a job
Bank Z         4:01:23 p.m.             welld one lads
Bank W         4:01:28 p.m.             Bravo
RBS            4:07:03 p.m.             1.6218..nice
HSBC           4:07:33 p.m.             worked ok that one

       111.    Many of Defendants’ FX traders participated in multiple chat rooms, allowing

them to communicate with many other Defendants each day. For example, in several transcripts

revealed by the CFTC, an HSBC trader participated in four separate chat rooms in the minutes

leading up to the 4:00 p.m. Fix. First, the HSBC trader entered a chat room to disclose to traders

at Barclays and other banks that he was a seller in “cable” (GBP/USD):

Trader         Time                     Message
Barclays 1     2:50:21 p.m.             early days but im a seller cable at fix [. . .]
Bank S         3:11:43 p.m.             here also
Bank R         3:24:50 p.m.             u got much to do in fix [Bank Trader W]
Barclays 1     3:25:07 p.m.             im seller 130 cable that it [. . .]
Barclay 1      3:28:02 p.m.             hopefulyl a fe wmore get same way and we can team
                                        whack it
Bank R         3:28:17 p.m.             ill do some digging [. . .]
Barclays 1     3:36:13 p.m.             im seller 170 gbp atmofix
Bank R         3:36:26 p.m.             we sellers of 40
HSBC           3:38:26 p.m.             lhs in cable at the fix
HSBC           3:38:29 p.m.             good amount [. . .]

As the 4 p.m. Fix period closed, the participants in the chat room congratulated each other:

Bank R         4:00:35 p.m.             well done gents
Barclays 1     4:01:56 p.m.             hooray nice team work
HSBC           4:02:22 p.m.             nice one mate

Prior to the Fix that same day, the HSBC trader participated in a separate chat room and

conveyed the information he had learned in the first room to another Barclays trader:




                                                44
Trader         Time                     Message
HSBC           3:25:19 p.m.             get lumpy cable at the fix ok
Barclays 2     3:25:32 p.m.             ta mate
Barclays 2     3:25:35 p.m.             150 here
HSBC           3:25:46 p.m.             400 odd here
HSBC           3:25:50 p.m.             lets go
Barclays 2     3:26:00 p.m.             yeah baby
HSBC           3:26:03 p.m.             [Barclays Trader 1] is too [. . .]
Barclays 2     3:27:00 p.m.             sry thats the [Barclays] flow
Barclays 2     3:27:23 p.m.             [Barclays Trader 1] gets
HSBC           3:28:26 p.m.             so its 150 all day wiht you guys? [. . .]
Barclays 2     3:36:34 p.m.             170 here

As the 4 p.m. Fix period closed, the traders celebrated:

Trader         Time                     Message
Barclays 2     4:01:03 p.m.             nice job mate
HSBC           4:03:34 p.m.             haha
HSBC           4:03:40 p.m.             i sold a lot up there
HSBC           4:03:46 p.m.             and over sold by 100
HSBC           4:03:48 p.m.             hahaha [. . .]
Barclays 2     4:04:06 p.m.             sweet nice job [. . .]
Bank W 2       4:05:04 p.m.             bravo

At the same time, the HSBC trader disclosed that he was selling at the Fix in yet another private

chat with a trader at an unknown bank prior to the close of the Fix period:

Trader         Time                     Message
HSBC           3:28:45 p.m.             lhs in about 300 quid cable for the fix
Bank V         3:28:54 p.m.             sweet
HSBC           3:29:42 p.m.             can you do some digging and seeif anyoine is that way
Bank V         3:29:52 p.m.             ofcourse mate
Bank V         3:34:49 p.m.             im getting 83 at mom mate
HSBC           3:34:56 p.m.             nice [. . .]
Bank V         3:37:38 p.m.             someone tells a guy here he is getting 170 cble at fix
Bank V         3:43:28 p.m.             see that [Bank U Trader]
HSBC           3:43:57 p.m.             thx

As the 4 p.m. Fix period ended, the traders continued:

Trader         Time                     Message
Bank V         4:00:51 p.m.             have that my son
Bank V         4:00:52 p.m.             hahga
Bank V         4:00:56 p.m.             v nice mate


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HSBC            4:04:53 p.m.             that worked nice mate
Bank V          4:05:44 p.m.             big time mate.

In a fourth chat room, the HSBC trader disclosed his position to traders at Barclays and other

banks prior to the close of the Fix period. The traders shared information about the size and

direction of the net orders at the Fix period:

Trader          Time                     Message
Barclays 2      3:36:18 p.m.             see first seller now
Bank Z          3:36:48 p.m.             you gettingt betty3 on the mumble still [Barclays Trader 2]
                                         ?
Bank Z          3:36:51 p.m.             we have nowt
Barclays 2      3:36:56 p.m.             yep
Barclays 2      3:36:59 p.m.             170
Bank Z          3:37:05 p.m.             ta
Bank Z          3:37:21 p.m.             get it up to 60/70 then bash the fck out of it
HSBC            3:38:26 p.m.             lhs in cable at the fix
HSBC            3:38:29 p.m.             good amount
Bank Z          3:38:35 p.m.             ta [. . .]
Bank Z          4:00:28 p.m.             nice work gents

By participating in multiple chat rooms and sharing information, Defendants were able to

amplify their influence on the FX market and successfully manipulate FX rates.

       112.    Defendants’ traders that were involved in the conspiracy actively monitored the

activity of other co-conspirator traders in order to ensure compliance. Traders that failed to

comply with the conspiracy were threatened with punishment by other Defendant traders.

       113.    Only a select group of traders were allowed into the secret groups, and traders

were highly protective of their membership. In a December 2011 chat room conversation

uncovered by the CFTC, three Defendant traders discuss inviting another trader from Barclays

into their chat group, called the “Cartel”:

Trader                               Time             Message
Matt Gardiner (UBS)                  7:49:55 p.m.     are we ok with keeping this as is . . .
                                     7:50:27 p.m.     ie the info & risk sharing?
Rohan Ramchandani (Citigroup)        7:50:27 p.m.     Well . . .
Matt Gardiner (UBS)                  7:50:30 p.m.     that is the qu[estion]


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Rohan Ramchandani (Citigroup)        7:50:32 p.m.    you know him best obv . . .
                                     7:50:39 p.m.    if you think we need to adjust it
                                     7:50:43 p.m.    then he shouldn’t be in chat
Richard Usher (JPMorgan)             7:50:54 p.m.    yeah that is key
                                     7:51:00 p.m.    simple question . . .
                                     7:51:08 p.m.    I trust you implicitly . . .
                                     7:51:13 p.m.    and your judgement
                                     7:51:16 p.m.    you know him
                                     7:51:21 p.m.    will he tell rest of desk stuff
                                     7:51:26 p.m.    or god forbid his nyk [New York office]
Rohan Ramchandani (Citigroup)        7:51:46 p.m.    yes
                                     7:51:51 p.m.    that’s really imp[ortant] qu[estion]
                                     7:52:01 p.m.    don’t want other nuptys in mkt to know
                                     7:52:17 p.m.    but not only that
                                     7:52:21 p.m.    is he gonna protect us
                                     7:52:33 p.m.    like we protect each other against our own
                                                     branches
                                     7:52:46 p.m.    ie if you guys are rhs [right hand side, a
                                                     code for buying the first currency listed in a
                                                     currency pair] and my nyk is lhs [left hand
                                                     side] . . . ill say my nick [New York office]
                                                     lhs in few
Matt Gardiner (UBS)                  7:53:52 p.m.    what concerns me is that i know he’ll never
                                                     tell us when at risk

After further discussion about whether the Barclays trader would “add huge value to this cartel,”

the three traders agreed to invite the Barclays trader into the chat room for a “1 month trial,”

although Citigroup trader Rohan Ramchandani warned the Barclays trader, “mess this up and

sleep with one eye open at night.”

       114.    Defendants’ traders used the chat rooms to coordinate their trades in order to

move exchange rates in directions that favored Defendants, to the detriment of non-conspirator

market participants. Defendants used code names and words in the chat rooms in efforts to

evade detection by governmental authorities. For example, one message uncovered by regulators

from a chat room involving traders from HSBC and Barclays said: “You getting betty on the

mumble still? We have nowt . . . Get it up to 60/70 then bash the fck out of it.” “Betty” in the

message is a reference to Betty Grable, and Grable rhymes with cable – the term for USD/GBP


                                                47
trades. Traders in chat rooms also used nicknames to refer to each other. For example, in the

chat group known to members as the “Cartel,” former RBS and JPMorgan trader Richard Usher

was referred to as “Feston” because he resembled an overweight version of British chef Heston

Blumenthal; Citigroup Rohan Ramchandani trader was called “Ruggy,” and Barclays trader

Chris Ashton was dubbed “Robocop.”

       B.      Defendants Conspired to Fix Bid-Ask Spreads

       115.    Beginning at least as early as December 1, 2007, as part of their conspiracy to fix

prices in the FX market, Defendants conspired to fix the bid-ask spreads paid by customers for

various currency pairs. As alleged above, there are thousands of electronic communications

between traders at two or more Defendant banks discussing FX bid-ask spreads and colluding to

manipulate FX rates.

       116.    Defendants quote bid-ask spreads directly to customers on demand throughout the

trading day.

       117.    Through electronic communications, traders employed by Defendants and their

co-conspirators exchanged information about bid-ask spreads and customer orders, and

coordinated quotes and orders between banks. For example, in a November 4, 2010 chat, a

Barclays trader discussed manipulating the USD/South African Rand rate with a JPMorgan

trader, stating, “if you win this we should coordinate you can show a real low one and will still

mark it little lower haha.” The JPMorgan trader acknowledged the illegality of their scheme,

suggesting that they “prolly shudnt put this on perma chat.” The Barclays trader responded, “if

this is the chat that puts me over the edge than oh well. much worse out there.” Weeks later, on

November 17, 2010, the same Barclays trader entered a chat room and told traders at other banks

to “show them way to the left . . . if they come here I will show them little worse . . . you win . . .

and get them cheap.” Months later, in a chat room on February 25, 2011, the same Barclays


                                                  48
trader coordinated with a trader at Standard Chartered to fix bid-ask spreads. The Standard

Chartered FX trader asked “what bid you want me to show if somwone calls” and the Barclays

trader responded “up to 02.” The Standard Chartered trader replied, “okok” and “ill let you

know if we get asked.” Later that year, on June 10, 2011, the Barclays trader showed up in

another chat room to tell other traders that “we trying to manipulate it a bit more in ny now . . . a

coupld buddies of mine and I.”

       118.    Bid-ask spreads are a primary source of revenue for FX dealers, and in a

competitive FX market, absent collusion, a profit-maximizing dealer would seek to gain

customers and market share by beating the spreads offered by competitor dealers. On the other

hand, a decision to increase bid-ask spreads would result in a loss of customers to dealers with

more advantageous quotes. Customers want narrower spreads, allowing them to buy currency at

lower prices and sell currency at higher prices. Only through coordinated price fixing could an

FX dealer quote less desirable bid-ask spreads without losing market share.

       C.      Defendants’ Conspiracy to Fix the Benchmark Rates

       119.    Beginning at least as early as December 1, 2007, Defendants conspired to

manipulate the Fixes.

       120.    Defendants’ traders carried out their conspiracy by communicating via chat

rooms, instant messages, and email.       Through these communications, Defendants regularly

shared confidential pricing and order information before the Fixes. Armed with this shared

confidential information, Defendants executed coordinated trading strategies designed to

manipulate the Fixes.

       121.    Defendants’ conspiracy was successful in manipulating the Fixes, allowing

Defendants to earn supracompetitive profits to the detriment of non-conspirator traders,

including Plaintiffs and members of the proposed Classes.


                                                 49
               1.     Defendants Shared Proprietary Trade Data In Order To Manipulate
                      FX Benchmark Rates

       122.    Defendants regularly shared confidential customer trade data with traders

employed at other Defendant dealers. Each Defendant compiled trade order data to determine

the amount of currency that it needed to buy or sell at the Fixes. Defendants then shared that

data with other Defendants through secret electronic communications, enabling each Defendant

to predict and influence the movement of FX prices during and around the times of the Fixes.

       123.    Defendants’ sharing of information allowed their traders to predict how the

market would move around the times of the Fixes much more accurately than they could without

the sharing of proprietary information.

       124.    The sharing of confidential customer FX information violates the Federal Reserve

Bank of New York’s “Guidelines for Foreign Exchange Trading Activities.” Specifically, the

Guidelines provide:

       Confidentiality and customer anonymity are essential to the operation of a professional
       foreign exchange market. Market participants and their customers expect that their
       interests and activity will be known only by the other party to the transaction . . . and an
       intermediary, if one is used. It is inappropriate to disclose, or to request others to
       disclose, proprietary information relating to a customer’s involvement in a transaction
       except to the extent required by law or upon the request of the appropriate regulatory
       body.
                                                    ***
       Staff should not pass on confidential and nonpublic information outside of their
       institution. Such information includes discussions with unrelated parties concerning their
       trades, their trading positions, or the firm’s position. It is also inappropriate to disclose,
       or to request others to disclose, information relating to a counterparty’s involvement in a
       transaction except to the extent required by law. Institutions should develop policies and
       procedures governing the internal distribution of confidential information. Trading room
       staff should take special precautions to avoid situations involving or appearing to involve
       trading on nonpublic information.

       125.    Rather than taking precautions to prevent the sharing of nonpublic information, as

required by the Federal Reserve Guidelines, Defendants actively shared information about

customers, transactions, pending orders, and other nonpublic data.


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                 2.     Methods of Manipulating Benchmark Rates

          126.   Defendants employed a number of strategies in collusively manipulating the

Fixes. Defendants had various nicknames for these strategies, including “trading ahead,” “front-

running,” “banging the close,” “painting the screen,” “netting off,” “building,” “giving the

ammo,” “taking the ammo,” “taking out the filth,” and “clearing the decks.”

          127.   All of these strategies were accomplished by Defendants sharing confidential

customer trade information with one another in order to gain anticompetitive advantage in the

FX market and increase their chances of profiting from trades placed at the Fixes.

          128.   Defendants’ traders engaged in a market manipulation strategy called “trading

ahead” when their shared customer trade order data indicated that trades placed at and around the

Fix would move FX rates in a particular direction. If the trade data indicates that trades placed

around the Fix will cause a particular currency to rise in value, privy traders would order that

currency in advance of the Fix, and/or sell after the Fix, and profit from the gains.

          129.   Entities that purchase FX directly from Defendants often place substantial FX

orders at the Fixes hours before the Fixes are actually set. Sharing information about these

upcoming trades allowed Defendants to predict the direction that the market would move for

certain currencies.

          130.   Absent collusion, no single Defendant would have had sufficient trade data to

profitably predict the movement of the market around the times of the Fixes.            Although

Defendants collectively dominated the market, no Defendant had sufficient market share to

consistently and accurately project the direction of the market based solely on its own customer

orders.

          131.   In order to avoid the risk of incorrectly guessing the direction of the market

leading up to and after the Fix, Defendants regularly agreed through secret communications to


                                                 51
collectively “front run” or “trade ahead,” working together to sequence their customers’ orders in

order to push FX rates in a certain direction, then buying or selling the manipulated FX for a

profit. Defendants employed this strategy to manipulate the WM/Reuters Fixes and the ECB

Fixes.

         132.   In one detailed example of “front running” trader manipulation uncovered by the

United Kingdom Financial Conduct Authority (“FCA”), an HSBC trader coordinated with co-

conspirators at Barclays and other banks to manipulate the 4:00 p.m. Fix for GBP/USD by

placing multiple smaller trades leading up to the Fix, then placing large trades at the Fix to take

advantage of the manipulated rate. At around 3:30 p.m., the HSBC trader entered a chat room

and told traders “Let’s go.” A trader at another bank replied “yeah baby,” then “hopefuulyl a fe

wmore get same way and we can team whack it.” A third trader encouraged the second trader to

“bask the fck out of it.” The first trader informed the HSBC trader that he had a deal with

another bank, which was buying: “Taken him out . . . so shud have iot rid of main buyer for

u . . . im stilla seller of 90 . . . gives us a chance.” HSBC ended up selling £70 million between

3:32 p.m. and the start of the Fix period. Those early trades were designed to take advantage of

the expected downwards movement in the Fix rate following the discussions within the chat

room. In that time period, the GBP/USD rate fell from $1.6044 to $1.6009. The HSBC trader

then sold £311 million during the Fix period. HSBC, Barclays, and the two other banks involved

in the chat room accounted for 63 percent of the volume of sales on the Reuters electronic

trading platform that day. The 4:00 p.m. Fix price was $1.6003, and HSBC’s profit in this trade

was $162,000.      After the Fix, the four traders congratulated each other on a successful

manipulation, chatting: “Nice work gent . . . I don my hat,” “dont mess with our ccy [currency],”




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“loved that mate . . . worked lovely . . . pity we coldn’t get it below the 00 [below $1.6000],” and

“we need a few more of those for me to get back on track this month.”

       133.    In another example of “front running” uncovered by the CFTC, traders from

Barclays and HSBC discussed unloading positions just prior to the WM/Reuters Fix period,

commencing at 3:54 p.m.:

Trader           Time                     Message
Barclays         3:54:32 p.m.             can u let me know when are down to your last tenner
HSBC             3:55:02 p.m.             ok
HSBC             3:55:10 p.m.             i’m down to my last tenner
Barclays         3:55:17 p.m.             ok ta
Barclays         3:55:41 p.m.             just sold some more
HSBC             3:55:49 p.m.             hahaha
Barclays         3:55:51 p.m.             hehehe
Barclays         4:00:57 p.m.             nice on[e] son
HSBC             4:03:15 p.m.             learnt from a good fella
Barclays         4:15:43 p.m.             there u go
Barclays         4:16:48 p.m.             go early, move it, hold it, push it

       134.    In another example of “front running,” traders at JPMorgan and an undisclosed

co-conspirator bank agreed to “join forces” and “double team” euro trades prior to the Fix:

Trader           Time                     Message
Bank W           3:46:53 p.m.             i’d prefer we join forces
JPMorgan         3:46:56 p.m.             perfick 3:46:59 lets do this
JPMorgan         3:47:11 p.m.             lets double team them
Bank W           3:47:12 p.m.             YESssssssssssss

By the 4:00 p.m. Fix, JPMorgan had built orders of €278 million, while the other trader’s orders

totaled €240 million. JPMorgan bought €57 million in the two minutes before the Fix window,

attempting to take advantage of the expected upwards movement in the Fix rate following the

discussions within the chat room. During the Fix calculation period, JPMorgan bought €134

million and the other trader bought €125 million. Between the two banks, they accounted for 41

percent of all EUR/USD trading at the Fix. JPMorgan’s profit in this trade was $33,000. Shortly

after the fixing window, the traders congratulated themselves:


                                                53
Trader            Time (U.S. Eastern)       Message
Bank W            4:03:25 p.m.              sml rumour we haven’t lost it
JPMorgan          4:03:45 p.m.              we
JPMorgan          4:03:46 p.m.              do
JPMorgan          4:03:48 p.m.              dollarrr

        135.    Defendants also engaged in a market manipulation strategy that they referred to as

“banging the close.” “Banging the close” refers to traders breaking large FX orders into multiple

smaller trades, in order to artificially inflate the Fixes.

        136.    Because the WM/Reuters Fixes were based on the median of spot rates for trades

placed during the calculation window, but the volume of each trade was not taken into account,

the WM/Reuters Fixes were particularly vulnerable to collusive manipulation by Defendants. By

splitting large trades into multiple smaller trades, Defendant traders working in conjunction

could manipulate the median exchange rates of trades made during the WM/Reuters calculation

window, thereby manipulating the WM/Reuters Fix.

        137.    Defendants also employed these strategies, including “front running” and

“banging the close,” to manipulate the ECB Fixes.

        138.    In one example of “banging the close” in a chat room transcript uncovered by the

FCA, Citigroup had net buy orders of €200 million and stood to benefit if it was able to move the

ECB Fix rate upwards. The Citigroup traders were able to “build” this order by gathering

information about euro orders from other co-conspirator banks. Traders at the other banks

agreed to transfer their buy orders to Citigroup, and with these additional trades, Citigroup

traders accumulated €542 million in total buy orders. In the 15 seconds before the ECB fix,

Citigroup placed four buy orders of increasing size and price, which were priced at a level above

the prevailing offer price. According to the FCA, Citigroup’s trading in this case generated a

profit of $99,000.




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       139.     The converse of “banging the close” was called “clearing the decks.”            By

combining small trades into a lesser number of large trades, Defendant traders could manipulate

the WM/Reuters and ECB Fixes by artificially decreasing the number of trades placed during the

calculation windows for the Fixes, thereby manipulating the median exchange rates of trades

made during those windows.

       140.     The FCA uncovered a specific example of an RBS trader working with other

banks to manipulate the WM/Reuters GBP/USD Fix by “clearing the decks” on a day when the

RBS trader had net client sell orders at the Fix and would benefit if it was able to manipulate the

4:00 p.m. Fix rate lower. In advance of the Fix, the RBS trader shared information about its Fix

orders with other traders in a chat room, and the traders worked to combine, or “net off,” their

trades by transferring their trades to other dealer banks and combining them into larger trades. In

a separate chat room, RBS told three other traders: “We getting a lot Betty at fix” referring to

GBP/USD. In the period leading up to the 4:00 p.m. Fix, RBS built up £399 million to sell at the

Fix, which was designed to take advantage of the expected downward movement in the Fix rate

following the discussions within the chat room. RBS made $615,000 in profit on this trade.

       141.     In another “clearing the decks” example, traders at RBS and other banks agreed to

share “ammo” and combine their small trades into one large trade to manipulate the Australian

dollar and New Zealand dollar:

Trader            Time                   Message
Bank T Trader     3:43:32 p.m.           buying aud and nzd at the fix
RBS Trader        3:43:43 p.m.           Tkx
Bank T Trader     3:43:52 p.m.           ntg big
RBS Trader        3:43:59 p.m.           Im buying 50 aud can do yours if you want
Bank T Trader     3:45:13 p.m.           ok . . .60 plse . . .****
RBS Trader        3:45:56 p.m.           Great
Bank P Trader     3:50:00 p.m.           I need to buy 25 aud at the fix too.. any int? more ammo
                                         for you…?
RBS Trader        3:50:21 p.m.           Sure [Bank P Trader]


                                                55
Trader            Time                    Message
Bank P Trader     3:51:24 p.m.            cool all yours [RBS Trader]
RBS Trader        3:51:46 p.m.            Buying 220 now
Bank P Trader     3:51:57 p.m.            good luck
Bank T Trader     3:52:20 p.m.            load up your 50 offrs . . .
Bank P Trader     3:53:14 p.m.            ill do those ones if you want
RBS Trader        3:53:19 p.m.            haah
Bank T Trader     3:53:20 p.m.            ur fkg [RBS Trader], ramp it
Bank T Trader     4:00:41 p.m.            nice one *****
Bank P Trader     4:00:56 p.m.            look at you! . . . well done mate . . .

       142.     Defendants also manipulated the WM/Reuters Fixes by placing phony orders with

one another during the WM/Reuters calculation window.

       D.       Other Conduct in Furtherance of the Conspiracy

       143.     In addition to fixing bid-ask spreads and the WM/Reuters and ECB Fixes,

Defendants engaged in other illegal conduct in furtherance of the conspiracy by manipulating

limit orders and triggering stop-loss orders.

       144.     A stop-loss order is an order placed with instructions to buy or sell FX once the

currency reaches a certain price. A stop-loss order is designed to limit an investor’s loss on a

currency position by allowing the investor to expressly limit their loss to a certain amount.

       145.     When a customer places a stop-loss order to buy FX, the dealer can profit if it

purchases the currency for a rate less than the price at which the customer has agreed to pay. If a

customer places a stop-loss order to sell, the dealer can profit if it sells the FX for a higher

average rate than the rate at which it buys the FX from the customer.

       146.     Defendants frequently colluded to manipulate FX Fixes in order to move the rates

towards levels that would trigger stop-loss orders and force customers to buy or sell.




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III.   DEFENDANTS’ CONSPIRACY IMPACTED INDIRECT PURCHASES OF FX
       INSTRUMENTS

       147.    Defendants’ collusive manipulation of FX spot prices and benchmark rates

significantly impacted prices throughout the market for FX Instruments, including prices for spot

FX Instruments paid by Plaintiffs and members of the proposed Classes.

       148.    Plaintiffs and members of the proposed Classes purchased FX Instruments

directly from RFEDs that are members of the Direct Settlement Class in FOREX, in transactions

where the RFEDs purchased those FX Instruments directly from one or more Defendants or co-

conspirators. Because members of the Direct Settlement Class are allowed to recover overcharge

damages regardless of whether they passed on those overcharges to their customers (under the

Illinois Brick “direct purchaser rule” for federal antitrust claims), Plaintiffs and members of the

proposed Classes bring this action under state Illinois Brick repealer statutes and related state

consumer protection statutes to recover the overcharge damages that were directly passed on to

them by members of the Direct Settlement Class. Analyses performed by Plaintiffs’ expert

confirm that the manipulated and supracompetitive overcharge that the RFED members of the

Direct Settlement Class paid to Defendants for FX Instruments was passed on to Plaintiffs and

members of the proposed Classes, and that there is no other person or entity that exists in the

causal chain between the RFEDs and Plaintiffs and members of the proposed Classes.

       149.    Some entities, such as RFEDs, trade FX Instruments directly with dealer banks,

such as Defendants, to resell those FX Instruments to indirect purchaser customers (often

referred to as “retail customers”) such as Plaintiffs and members of the proposed Classes. Retail

FX customers trade FX Instruments with RFEDs for a variety of purposes, including long and

short-term investing, portfolio diversification, and to hedge their foreign investments against

risks of foreign currency fluctuations.



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        150.     Members of the Classes proposed here, including all named Plaintiffs purchased

FX Instruments indirectly from Defendants and Defendants’ co-conspirators by purchasing FX

Instruments from RFEDs that purchased them from Defendants and their co-conspirators.

        151.     As direct purchasers of FX Instruments from Defendants and Defendants’ co-

conspirators, RFEDs are members of the Direct Settlement Class.

        152.     The dealer banks, such as Defendants, that sell FX Instruments to RFEDs for

resale to indirect purchaser customers, such as Plaintiffs, are often referred to as “liquidity

providers.” The liquidity providers, many of which are Defendants, provide real-time quotes to

the RFEDs, and the RFEDs use those quotes to set the price paid by Plaintiffs as retail FX

customers, to whom Defendants’ illegal overcharge is passed on.

        153.     Numerous Defendants were liquidity providers for RFEDs both during the Class

Period and today. Those liquidity provider relationships are actively promoted to Plaintiffs and

the Class members by the RFEDs. For example:

        •    FOREX.com’s liquidity providers include Defendants JPMorgan, UBS, and
             Citigroup; 6

        •    FXCM’s liquidity providers include Defendants Barclays, Citigroup, Deutsche Bank,
             UBS, and Morgan Stanley; 7 and

        •    OANDA’s liquidity providers include Barclays, Bank of America, BTMU, BNP
             Paribas, Citigroup, Credit Suisse, Deutsche Bank, Goldman Sachs, HSBC, JPMorgan,
             Morgan Stanley, RBS, SocGen, Standard Chartered, and UBS. 8




6
  FDM Public Disclosures, https://www.forex.com/~/media/forex/files/terms-and-conditions/us/fdm-disclosure-
01252018.pdf (last accessed Apr. 5, 2018).
7
  FXCM Liquidity Providers, https://www.fxcm.com/uk/about-fxcm/liquidity-providers/ (last accessed Apr. 5,
2018).
8
  Regulatory Public Disclosures, https://www.oanda.com/resources/legal/united-states/legal/regulatory-public-
disclosures (last accessed Apr. 5, 2018).



                                                       58
       154.    RFED purchases account for a significant portion of Defendants’ FX business;

therefore, Defendants were clearly aware that the Conspiracy would injure RFED customers

including Plaintiffs and members of the Classes.

       155.    The RFEDs with whom Plaintiffs transacted employed a straightforward pricing

model in which the RFED purchased the FX Instrument from a liquidity provider (Defendant)

and resold that same FX Instrument to the retail customer (Plaintiff) for a price that is equal to

the amount that the RFED paid to the Defendant, plus a retail markup. Therefore, the RFEDs’

pricing model mathematically incorporates the price at which the RFEDs purchases the spot FX

Instrument from a Defendant into the price at which the RFED sells the spot FX Instrument to

the retail FX customer Class member.

       156.    Under that model, the RFED received real-time bid-ask quotes from several

dealer bank “liquidity providers,” most of which are Defendants.

       157.    The chain of causation from Defendant-induced FX price distortions to retail FX

prices is direct, strong, and inevitable. The bid and ask prices offered by RFEDs to their retail FX

customers (including Plaintiffs and members of the Classes) are set by a computer algorithm and

move one-for-one with the prices quoted by dealer banks (including Defendants and their co-

conspirators). As alleged herein, those dealer prices were illegally manipulated by the

Conspiracy throughout the Class Period.

       158.    An RFED determines the bid and ask prices offered to their retail FX customers

using a computer algorithm that takes in bid/ask quotes from liquidity providers (including

Defendants), selects the best bid and ask prices from those quotes, and calculates prices for retail

FX customers (such as Plaintiffs and members of the Classes) by taking those best-available




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liquidity provider quotes and adding (for the ask) or subtracting (for the bid) a spread (the “retail

spread” or “markup spread”) to those bid and ask quotes, i.e., the RFEDs’ retail markup.

       159.    When retail FX customers, such as Plaintiffs, purchase an FX Instrument from a

Direct Settlement Class member, such as an RFED, where the RFED is their counterparty for

purposes of the transaction, no other person or entity stands between the retail FX customer, such

as Plaintiffs, and the RFED. For each retail FX Instrument purchase, for which Plaintiffs alleges

damages, there is a principal-to-principal transaction between the retail FX customer (Plaintiff)

and the RFED, and a matching principal-to-principal transaction between the RFED and the

liquidity provider-Defendant.

       160.    An RFED’s computer algorithm sets the bid and ask prices in three steps which,

as alleged below based on statistical analyses performed by Plaintiffs’ expert, results in a nearly

perfect correlation between (a) the price paid for the manipulated FX Instrument by an RFED-

Direct Settlement Class Member to a liquidity provider-Defendant that is then passed on to

Plaintiffs and the proposed Classes, as follows:

       Step 1: The RFED receives live electronic bid and ask quotes from its Defendant
       liquidity providers.

       Step 2: The RFED’s algorithm compares the Defendant liquidity providers’ quotes and
       selects the best bid and ask prices, i.e. the prices with the narrowest spread.

       Step 3: The RFED’s algorithm sets prices for retail FX customers by taking the best bid
       and ask prices available from the Defendant liquidity providers and adding to (for the
       ask) or subtracting from (for the bid) a “markup spread.” Those retail prices are posted on
       the RFED’s website and updated in real time. When a retail FX customer purchases an
       FX Instrument from the RFED, they pay the price that is quoted on the RFED’s website
       at the moment the transaction is executed.

       161.    When retail FX customers, such as Plaintiffs, purchase an FX Instrument from an

RFED, two matching transactions are concurrently executed: (1) the RFED purchases the FX

Instrument from the liquidity provider, such as Defendants, paying the best “Ask” price quoted



                                                   60
by the liquidity provider at the time of purchase, and (2) the retail FX customer purchases the FX

Instrument from the RFED, paying that exact same price, plus an additional retail spread charged

by the RFED. The entire liquidity provider (Defendant) to RFED (Direct Settlement Class

Member) to retail FX customer (Plaintiff) transaction takes less than a second to complete. Both

steps are counterparty-to-counterparty transactions; therefore, the RFED is the direct purchaser

and the Class member is the indirect purchaser with no intervening individuals or entities

between the RFED-Direct Settlement Class Member and retail FX customer-Plaintiff.

       162.    Depending on the RFED, the amount of the markup may be fixed based on the

currency pair, or it may be calculated as a multiple of the best bid-ask spread quotes that the

RFED receives from its liquidity providers. But for all RFEDs, the FX Instrument price paid by

the retail FX customer is equal to the price that the RFED paid to purchase the FX Instrument

from the liquidity provider, plus the retail spread charged by the RFED. This straightforward

mathematical relationship means that any anticompetitive overcharge incurred in a Defendant-to-

RFED transaction is necessarily passed on to the Plaintiff or Class member retail purchaser in the

matching RFED-to-Class member transaction.

       163.    Each RFED’s algorithm works continuously (in essence, 24 hours a day, 7 days a

week). Because dealer prices change at high frequencies, RFED prices also change very

frequently: indeed, on FOREX.com, FXCM, and OANDA—where prices are posted publicly in

real time—prices often change many times per second.




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        164.    For example, in Figure 1, where a customer of FOREX.com wants to purchase

100 euros (EUR 100) with U.S. dollars (USD) and FOREX.com is quoting the following bid and

ask prices: 9

        Figure 1: Illustrative EUR/USD retail FX prices taken from FOREX.com.




        165.    In this example, the “Bid” price of 1.22441 is the number of USD that

FOREX.com is willing to pay to buy one EUR, or equivalently the price at which a retail FX

customer can sell one EUR to FOREX.com. The “Ask” price of 1.22461 is the number of USD

that FOREX.com is willing to accept in exchange for one EUR, or equivalently the price at

which a retail customer can buy one EUR from FOREX.com. The retail bid-ask spread (or

“retail spread”) quoted by FOREX.com is 0.0002 or 2.0 “pips.” The retail market mid-quote (i.e.

the average of the bid and the ask) at this moment, 1.22451, would be essentially the same as the

dealer bank mid-quote, as shown by the statistical analysis described below. The dealer bank

bid-ask spread would normally be smaller than the retail spread; with a dealer bank spread of 1

pip, the dealer bank bid and ask would be 1.22446 and 1.22456. Throughout the Class Period,

all RFEDs that Plaintiffs and the Class members transacted with—including the other two largest

U.S. RFEDs, FXCM and OANDA—employed the same straightforward pricing model as the

FOREX.com model, as alleged herein. To the extent that those RFEDs sold FX Instruments to

other customers using pricing models that did not follow the Defendant-to-RFED-to-Class


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  These FOREX.com images are screenshots from FOREX.com’s online trading platform. See
https://webtrading.forex.com (last accessed Mar. 20, 2018).



                                                    62
member model described herein, those customers are excluded from the proposed Classes, which

limit Class membership to persons who purchased FX Instruments that followed that model.

Additionally, because the Classes proposed here are limited to persons who purchased an FX

Instrument from a Direct Settlement Class member where that Direct Settlement Class member

purchased the FX Instrument from a Defendant or co-conspirator, with respect to RFED

transactions, Plaintiffs are only seeking damages where the RFED’s liquidity provider was a

Defendant or co-conspirator.

       166.    The amount of the RFED markup on a purchase of an FX Instrument can be

determined by subtracting the amount paid by the RFED to its liquidity provider from the

amount paid by the retail customer to the RFED. For instance, if the price paid by the RFED to

the liquidity provider in the above example was 1.22451, and the customer paid the “Ask” price

of 1.22461, the retail markup is 0.00010, or 1 pip.

       167.    As described above, the Conspiracy directly affected the prices charged by

Defendants for spot FX Instruments sold to direct purchasers including RFEDs, meaning the

prices set on the electronic platforms for spot FX Instruments where Defendants and other dealer

banks trade. Those dealer bank spot FX prices were used by RFEDs to set retail spot FX prices.

Therefore, the distortions in dealer prices due to the Conspiracy were passed through one-for-one

to RFED prices.

       168.    Consider a scenario in which the dealer mid-quote (the average of the bid and ask

prices) for EUR/USD rises from $1.2000/€ to $1.2005/€, a rise of 5 pips, where that price

increase is due to Defendants’ manipulation as part of the Conspiracy. Suppose also that the

dealer and spread is 1 pip and the retail spread is 2 pips. So the retail bid/ask begins at

1.19990/1.20010 (a spread of 2 pips), and the dealer bid/ask begins at 1.19995/1.20005 (a spread




                                                63
of 1 pip). When the dealer bid-ask rises 5 pips, the algorithm used to determine retail bid-ask

prices automatically incorporates that increase.       So the dealer bank bid/ask moves to

1.20045/1.20055, and in turn, the retail bid/ask moves to 1.20040/1.20060. Defendants’ price

manipulation causes the dealer bank price to increase by 5 pips, and the retail price increases by

the exact same amount. If a retail FX customer purchases an FX Instrument from an RFED

immediately after the 5-pip increase, the RFED purchases the FX Instrument from a dealer-

Defendant at the dealer-Defendant ask price of 1.20055, which is 5 pips higher than the price

would have been but-for the anticompetitive price increase, and the RFED’s retail FX customer

purchases the FX Instrument from the RFED at the retail ask price of 1.20060, which is also 5

pips higher than the price would have been but-for the Conspiracy. Accordingly, the entire

amount of the anticompetitive overcharge incurred in the dealer Defendant-to-RFED transaction

is passed on to the retail FX customer-Plaintiff in the matching RFED-to-retail customer

transaction. In this example, the retail FX customer’s damages incurred due to the Conspiracy is

equal to 5 pips multiplied by the number of units that the customer purchased.

       169.    The above example demonstrates how any anticompetitive overcharge incurred

by the RFED is necessarily passed on to the retail FX customer. In every transaction where a

Defendant sold an FX Instrument to an RFED and the RFED in turn sold that FX Instrument to a

Class member, the price paid by the RFED is fully incorporated into the price paid by the Class

member. Therefore, any anticompetitive overcharge contained in the price paid by the RFED to

the Defendant is directly passed on by the RFED to the Class member. Because any overcharges

paid by the RFED to the Defendant are passed on to the retail FX customer, such as Plaintiffs, it

is impossible for the RFED to “absorb” any anticompetitive overcharge caused by the

Conspiracy.




                                               64
        170.    Because the prices charged by RFEDs are determined based on the prices charged

by Defendants, RFED pricing should be highly correlated with Defendants’ pricing for spot FX

Instruments. Plaintiffs’ expert performed an economic analysis utilizing actual pricing data

during the Class period, as described below, which confirms that, in fact, that correlation exists

to near statistical perfection.

        171.     By way of example, to demonstrate the actual extent of that correlation,

Plaintiffs’ expert prepared the figures and analyses described below comparing the EUR/USD

spot FX Instrument prices from FOREX.com (currently the world’s largest RFED) with the

EUR/USD spot FX Instrument prices from the “Reuters Tick History” database for February

2012. The FOREX.com data is comprised of actual bid/ask quotes that were posted on

FOREX.com and made available to retail FX customers including Plaintiffs and members of the

proposed Classes during the Class Period. The Reuters data is comprised of the best-available

quotes from the major dealer bank trading platforms—including EBS, Reuters Matching, Reuters

Dealing, and others—updated at high frequencies. Because Defendants collectively dominate

more than 90% of the FX dealer market, a substantial portion of those quotes are direct quotes

from Defendants.

        172.    The analyses conducted by Plaintiffs’ expert confirm that the spot FX Instrument

prices charged by Defendants to RFED Direct Settlement Class members (which were

manipulated due to the Conspiracy) are nearly perfectly correlated with the prices at which

Plaintiffs purchased those same FX Instruments from the RFEDs. For example, the comparisons

below focus on pricing data from FOREX.com during its most active hours, which roughly

coincide with London business hours, during February 2012, which falls within the Class Period.




                                               65
       173.    A comparison of FOREX.com’s pricing with the Reuters pricing shows that the

two price series are highly correlated. For example, Figure 2 shows both retail FX prices

(FOREX.com) and Reuters prices during active trading hours of February 22, 2012. The two

prices move so closely together that the viewer typically cannot see both series. In Figures 2 and

3 below, the retail (i.e., RFED) price is represented by a blue line and the Reuters (i.e., dealer

banks including Defendants) price is represented by a gold line. The two prices are so nearly

perfectly correlated for the entire period that in just a few instances does the blue line appear as a

speck where it is not otherwise completely overlaid by the gold Reuters line. As such, Figures 2

and 3 depict correlated prices to near perfection.

       Figure 2: Reuters and Retail (FOREX.com) EUR/USD prices on February 22, 2012




       174.    The blue oval on the right in Figure 2 demonstrates the price movements around

the time of the WM/Reuters Fix, and the blue oval to the left of that shows the price movements

around the time of the ECB Fix. The graph shows that, based the statistical analysis performed



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by Plaintiffs’ expert, the retail FX prices charged by RFEDs to the Plaintiffs move in near-

perfect correlation with anticompetitive prices charged by the Defendant liquidity providers to

the RFEDs, even around the times of the Fixes when prices are more volatile. Therefore, any

increase in the benchmark rates due to the Conspiracy would have caused retail FX prices to

increase in the same amount.

        175.   Figure 3 below further demonstrates, based the statistical analysis performed by

Plaintiffs’ expert, that the retail prices move one-for one with the Reuters prices that were

distorted by the Conspiracy during the Class Period. If the Defendants’ quotes are distorted

upwards, for example, the RFED quotes that are determined based on Defendants’ quotes will

adjust upwards by the same amount within a small fraction of a second. Figure 3 demonstrates

that retail (i.e., RFED) and Reuters (i.e., dealer banks including Defendants) prices move very

closely even during volatile Fixes such as the price movements that occurred on, for example,

February 15, 2012, around the ECB and WM/Reuters Fixes. Those close links are also apparent

in Figure 2 which shows the price movements around the times of the Fixes on February 22,

2012.




                                              67
        Figure 3: Reuters and Retail (FOREX.com) EUR/USD prices around the ECB and
        WM/Reuters Fixes on February 15, 2012




        176.     Again, the blue oval on the right in Figure 3 shows the price movements around

the time of the WM/Reuters Fix, and the blue oval to the left of that shows the price movements

around the time ECB Fix. The graph shows that retail (i.e., RFED) prices move in near-perfect

correlation with Reuters prices even when prices are more volatile such that it is almost

impossible to distinguish between the two lines depicted in Figure 3 as the gold line (Reuters)

overlays the blue line (Retail), to near perfection.

        177.     A correlation analysis performed by Plaintiffs’ expert further demonstrates the

links between retail and dealer bank prices. Correlations can range from -1 to +1, and a value of

+1 means the two series move perfectly together. A raw (Pearson’s) correlation analysis 10

comparing contemporaneous prices in the two settings during active trading hours in February

10
  Correlation coefficients are used in statistical analysis to measure how strong a relationship is between two
variables. A Pearson’s correlation is a correlation coefficient commonly used in analyses such as that performed by
Plaintiffs’ expert.



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2012 shows that the estimated correlation between retail and Reuters prices is 0.99997. That

extremely high correlation coefficient means that the two series move almost perfectly in unison,

as one would predict given their mathematical relationship.

       178.    A regression analysis, performed by Plaintiffs’ expert, further demonstrates the

close connection between the retail and Reuters prices. Plaintiffs’ expert conducted a regression

analysis with those same two price series, regressing minute-by-minute proportionate changes in

the FOREX.com quotes on proportionate changes in the Reuters quotes. Explanatory power in

the regression model is measured as the regression’s “R-squared,” a statistic that ranges from 0.0

(zero explanatory power or, in this case, no link at all between retail and wholesale prices) to 1.0

(100% explanatory power or, in this case, wholesale price moves are the only thing that drive

retail price moves and all residuals are zero). Plaintiffs’ expert’s regression results show an R-

squared statistic of 0.80, a figure that is high by any standards and, according to Plaintiffs’

expert, particularly high for an analysis of financial-price changes.

       179.    The correlation analysis and regression analysis results described above are

consistent with the algorithmic pricing mechanism employed by RFEDs in setting retail FX

prices passed on to Plaintiffs and members of the proposed Classes. The statistical analyses

performed by Plaintiffs’ expert demonstrate that the Reuters prices quoted by Defendants and

other dealer banks to the RFED Direct Settlement Class Members during the Class Period were

nearly perfectly correlated with, and a highly accurate predictor of, the retail prices that the

RFEDs passed on to and that were paid by Plaintiffs and members of the proposed Classes.

Therefore, to the extent that the Conspiracy manipulated spot prices for FX Instruments, that

manipulation would have a direct and proportionate impact on the prices at which Class

members purchased those same FX Instruments from RFEDs.




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       180.    As alleged above, the Conspiracy also directly affected benchmark rates including

the ECB Fix rates. Those benchmark rates had widespread impact on the pricing of all FX

Instruments, including pricing on the FX Instrument sold directly from Defendants to RFEDs.

       181.    Because the prices charged by RFEDs are determined based on the prices charged

by Defendants, and the prices charged by Defendants are influenced by the ECB Fix, RFED

pricing should be highly correlated with ECB Fix rates. Using the same methodology used to

compare the FOREX.com pricing with Reuters pricing, Plaintiffs’ expert performed an economic

analysis comparing the daily EUR/USD spot FX Instrument prices from FOREX.com (RFED) at

the time of the ECB Fix with the corresponding ECB Fix rates during February 2012. That

analysis confirms that the two price series are correlated to near statistical perfection.

       182.    A visual comparison of FOREX.com’s pricing with the ECB rates demonstrates

that high degree of correlation. For example, Figure 4 shows both retail prices (FOREX.com)

and ECB Fix rates throughout February 2012.             The retail (i.e., RFED) FX mid-quote is

represented by a blue dot and the ECB rate is represented by a gold dot:

       Figure 4: Retail (FOREX.com) and ECB Fix prices, February 2012




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The two prices are so nearly perfectly correlated for the entire period that the dots overlap at

every observation.

       183.    Correlation analysis further demonstrates the links between retail prices and the

ECB Fix rates. A raw (Pearson’s) correlation analysis comparing contemporaneous daily prices

from the two series in February 2012 shows that the estimated correlation between retail prices

and the ECB rates is 0.99996. That extremely high correlation coefficient means that the two

series move almost perfectly in unison, as one would predict given their strong relationship.

       184.    As alleged above, Defendants manipulated benchmark rates and spot prices for

FX Instruments which they charged to RFEDs (i.e. Direct Settlement Class Members), and who,

in turn, directly passed on that overcharge to Plaintiffs and the Class members without any

intervening individual or entity.

IV.    GOVERNMENT INVESTIGATIONS OF DEFENDANTS FOR ILLEGAL
       CONDUCT IN FX TRADING

       185.    Governmental law enforcement and regulatory authorities in the United States,

United Kingdom, European Union, Brazil, Switzerland, South Africa, and several other

sovereigns are conducting ongoing investigations of Defendants’ conduct in the FX market.

       186.    On November 11, 2014, the Commodity Futures Trading Commission brought

and settled charges against Citigroup, HSBC, JPMorgan, RBS, and UBS for violations of the

Commodity Exchange Act relating to their involvement in the FX manipulation conspiracy. The

CFTC settlements required the five Defendants to pay combined fines of over $1.4 billion,

including $310 million each for Citigroup and JPMorgan, $290 million each for RBS and UBS,

and $275 million for HSBC. On May 20, 2015, the CFTC brought and settled similar charges

against Barclays for violations of the Commodity Exchange Act relating to its involvement in the




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FX manipulation conspiracy. The CFTC settlement with Barclays requires the bank to pay $400

million in fines.

        187.    On November 12, 2014, the U.S. Office of the Comptroller of the Currency

(“OCC”) announced that it assessed files of $250 million against Bank of America, $350 million

against Citigroup, and $350 million against JPMorgan “for unsafe or unsound practices related to

their foreign exchange (FX) trading businesses.” In addition to assessing monetary penalties, the

OCC issued cease and desist orders requiring the three Defendants to correct deficiencies and

enhance oversight of their FX trading activity. The OCC found that between 2008 and 2013,

some of the banks’ traders held discussions in online chat rooms for purposes of coordinating FX

trading strategies to manipulate exchange rates to benefit traders and the banks.

        188.    On May 20, 2015, the U.S. Department of Justice (“DOJ”) announced that

Defendants Citigroup, JPMorgan, Barclays, and RBS had agreed to plead guilty to felony

charges of conspiring to manipulate the prices of U.S. dollars and euros traded in the FX spot

market, in violation of the Sherman Antitrust Act, 15 U.S.C. § 1. As part of the plea deals, the

four Defendants agreed to pay criminal fines totaling more than $2.5 billion. The Defendants

also agreed to “a three-year period of corporate probation,” and are required to cooperate in the

DOJ’s ongoing criminal investigations of other Defendants and co-conspirators. Each of the four

Defendants admitted in their plea agreement that “[h]ad this case gone to trial, the United States

would have presented evidence sufficient to prove the following facts: . . . The defendant and its

co-conspirators carried out the conspiracy to eliminate competition in the purchase and sale of

the EUR/USD currency pair by various means and methods including, in certain instances, by: . .

. coordinating the trading of the EUR/USD currency pair in connection with European Central

Bank and World Markets/Reuters benchmark currency ‘fixes’ which occurred at 2:15 PM (CET)




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and 4:00 PM (GMT) each trading day. . . .” The four Defendants also admitted in their plea

agreements that the conspiracy began “at least as early as December 2007 and continued until at

least January 2013.”

       189.    Also on May 20, 2015, the DOJ announced that UBS had agreed to plead guilty

and pay a $203 million criminal penalty for illegal FX-related conduct in violation of a Non-

Prosecution Agreement that was entered into between UBS and the DOJ Fraud Section on

December 18, 2012. The Non-Prosecution Agreement was signed in connection with the DOJ’s

previous investigation into UBS’s involvement in a conspiracy to manipulate benchmark interest

rates, including the London InterBank Offered Rate (“LIBOR”).             The May 20, 2015 plea

agreement provides that “UBS expressly agrees that it shall not, through present or future

attorneys, officers, directors, employees, agents or any other person authorized to speak for UBS

make any public statement, including in litigation . . . contradicting the facts set forth in Exhibit

1.” The facts in Exhibit 1 of the plea agreement include:

           •   “Certain employees of UBS engaged in conduct after December 18, 2012, . . .
               namely, (i) fraudulent and deceptive currency trading and sales practices in
               conducting certain foreign exchange (“FX”) market transactions with customers
               via telephone, email, and/or electronic chat, to the detriment of UBS’s customers,
               and (ii) collusion with other participants in certain FX markets.”;

           •   “UBS’s compliance program . . . did not detect collusive and deceptive sales-
               related conduct in FX markets until an article was published pointing to potential
               misconduct in the FX markets.”; and

           •   “Prior to, and continuing after [December 18, 2012], UBS, through one of its FX
               traders, conspired with other financial services firms acting as dealers in an FX
               spot market by agreeing to restrain competition in the purchase and sale of the
               EUR/USD currency pair in the United States and elsewhere. This was achieved
               by, among other things: (i) coordinating the trading of the EUR/USD currency
               pair in connection with ECB and WMR benchmark currency "fixes" which
               occurred at 12:15 PM (CET) and 4:00 PM (GMT) each trading day, and (ii)
               refraining from certain trading behavior, by withholding bids and offers, when
               one conspirator held an open risk position, so that the price of the currency traded
               would not move in a direction adverse to the conspirator with an open risk


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              position. UBS participated in this collusive conduct from in or about October
              2011 and continued until at least January 2013.”

       190.   In connection with the DOJ investigation, the U.S. Federal Reserve imposed

additional combined fines of over $1.6 billion on Citigroup, JPMorgan, Barclays, RBS, and

UBS.

       191.   Also on May 20, 2015, the New York State Department of Financial Services

(“NYDFS”) announced that Barclays would be required to pay $485 million and ordered the

termination of eight Barclays employees who engaged in New York Banking Law violations in

connection with manipulating FX rates. Barclays admitted in the consent order with NYDFS

that it had engaged in misconduct regarding the trading of FX “from at least 2008 through 2012.”

On November 18, 2015, the NYDFS ordered Barclays to pay an additional $150 million in fines

and terminate another employee for further FX trading violations.

       192.   In July 2016, HSBC’s global head of FX cash trading, Mark Johnson, was

arrested by U.S. authorities at the John F. Kennedy airport in New York on charges of

conspiracy and wire fraud. A warrant was also issued for the arrest of Stuart Scott, who was

formerly Johnson’s deputy and head of HSBC’s FX cash trading operations for Europe, the

Middle East, and Africa, until he left HSBC in 2014. U.S. prosecutors announced in October

2016 that they would institute formal extradition proceedings for Scott, who has remained in

England since the warrant was issued. In a criminal complaint filed against Johnson and Scott

on July 19, 2016, the DOJ alleges that Johnson and Scott conspired to defraud a client company

by “front running” the client’s $3.5 billion FX spot transaction for GBP/USD executed in

December 2011. According to the DOJ complaint, Johnson and Scott misled the client into

agreeing to trade the entire $3.5 billion transaction at the WM/Reuters 3:00 p.m. Fix. When the

client agreed, Johnson and Scott discussed on a recorded phone call how high they could “ramp”



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up the price of GPB/USD before the client would “squeal,” and then placed “front running” FX

orders in anticipation that the client’s order would drive up the price of GBP/USD. Johnson and

Scott encouraged other HSBC traders in New York and London to purchase GBP in their

individual trader “P-book” accounts, and Scott purchased GBP in his P-book account. When the

client authorized the trade, Scott told Johnson, “full amount” (indicating that the client had

authorized the full order), to which Johnson replied, “Ohhhh, f***ing Christmas.” The DOJ

complaint alleges that HSBC earned approximately $5 million from its execution of the trade,

and an additional $3 million from trades placed in their traders’ “P-book” accounts. Two years

prior to the arrests, HSBC conducted its own investigation into the $3.5 billion trade, but found

no wrongdoing. HSBC is currently reviewing that investigation.

       193.    In December 2016, the DOJ filed sentencing memoranda indicating that Barclays,

JPMorgan, and Citigroup had provided the DOJ with evidence of another antitrust conspiracy in

the FX spot market that involves currency pairs other than EUR/USD. That new evidence led

the DOJ to broaden its long-running investigation into the manipulation of FX markets to include

additional currencies. The DOJ requested that the criminal fines for Barclays, JPMorgan, and

Citigroup be reduced due to the three banks’ assistance in the ongoing investigation.

       194.    On January 10, 2017, the U.S. District Court for the District of Connecticut

entered judgments against Citigroup, Barclays, JPMorgan, UBS, and RBS. The criminal fines

imposed against each Defendant were $925 million for Citigroup, $710 million for Barclays,

$550 million for JPMorgan, $203 million for UBS, and $395 million for RBS.              All five

Defendants were sentenced to probation for three years.

       195.    On January 4, 2017, former Barclays trader Jason Katz pleaded guilty to federal

charges. Katz worked for a year as director of emerging markets-foreign exchange trading at




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Barclays beginning in 2010, joined BNP Paribas in September 2011 as director of emerging

markets-foreign exchange trading for two years, and then moved to work for Australia & New

Zealand Banking Group Ltd. In his guilty plea, Katz admitted to participating in a conspiracy

with other bankers to manipulate currency prices on electronic trading platforms by creating

bogus trades and coordinating bids with other traders while working at three different financial

institutions from 2007 to 2013. As part of the plea deal, Katz has agreed to cooperate with the

government’s ongoing investigation into Defendants’ conspiracy. The conspiracy charge Katz

admitted to has a maximum penalty of 10 years in prison and a $1 million fine, which may be

increased to twice the gain derived from the crime or twice the losses suffered by victims if

either amount is greater than $1 million.

       196.    That same day, the Federal Reserve Board announced that it had permanently

banned Katz from the banking industry. The Federal Reserve Board has also issued lifetime

bans to Matthew Gardiner, a former FX trader at Barclays and UBS, and Christopher Ashton, the

former head of spot trading at Barclays. Ashton was also fined $1.2 million by the Board. On

January 23, 2018, the Federal Reserve Board announced that it had denied a motion to void the

$1.2 million fine and permanent ban against Ashton.

       197.    On January 10, 2017, a federal grand jury returned indictments for criminal

conspiracy against former JPMorgan, Citigroup, and Barclays traders Richard Usher, Rohan

Ramchandani, and Chris Ashton for their alleged roles in a conspiracy to manipulate the price of

U.S. dollars and euros. The three former traders were members of the chat group that dubbed

themselves the “Cartel.” The indictment found that Usher and Ramchandani started conspiring

in December 2007, while Ashton joined the conspiracy four years later. Usher worked as a

currency trader at RBS starting in 2003, then joined JPMorgan in 2010 as their head of FX spot




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trading. Ramchandani worked at Citigroup as their head of European spot FX trading. Both

Usher and Ramchandani served until as recently as December 2012 as members of the Bank of

England’s Chief Dealers Sub Group, a committee of currency traders and central bank officials

tasked to recommend “industry guidance” for the FX market. Ashton was the global head of

spot trading at Barclays. In a 2012 performance review, one of Ashton’s managers at Barclays

described him as a “superstar” and noted: “Content is a huge part of what we do. Whether that’s

in chats, on the phone or in person. You have transformed our approach to content and made it a

huge advantage to the firm.” A fourth member of the “Cartel,” Matt Gardiner, a former trader at

UBS, Barclays, and Standard Chartered, has been cooperating with the DOJ in their ongoing

criminal investigation.

       198.     On January 12, 2017, former Citigroup trader Christopher Cummins became the

second individual to plead guilty to conspiring to fix prices in the FX market. Cummins—a

former trader of central and eastern European, Middle Eastern, and African Citigroup—admitted

to working with other FX traders at competing firms from 2007 until 2013 to manipulate FX

prices on an electronic trading platform “through the creation of non-bona fide trades,

coordinat[ing] the placement of bids and offers on that platform[,] and agree[ing] on currency

prices they would quote specific customers, among other conduct,” according to a press release

from the DOJ.

       199.     On April 20, 2017, the Federal Reserve announced that Deutsche Bank would be

required to pay $156.6 million for failure to detect and address its traders’ use of electronic

chatrooms to discuss their positions with competitors, and for deficiencies in Deutsche Bank’s

oversight and internal controls regarding FX traders trading FX in proprietary accounts for the

benefit of the bank.




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       200.   On November 12, 2014, the United Kingdom Financial Conduct Authority

announced that it had imposed fines totaling £1.1 billion ($1.8 billion) on Defendants Citigroup

($358 million), HSBC ($343 million), JPMorgan ($352 million), RBS ($344 million), and UBS

($371 million) for failing to control business practices in their FX trading operations. The FCA

found that between January 1, 2008 and October 15, 2013, “the Banks did not exercise adequate

and effective control over their G10 spot FX trading businesses,” and that the Defendants’

traders “shared the information obtained through [groups of traders at multiple Defendant

banks]” and “then attempted to manipulate fix rates and trigger client ‘stop loss’ orders (which

are designed to limit the losses a client could face if exposed to adverse currency rate

movements).” On May 20, 2015, the FCA fined Barclays £284 million ($441 million) for

“improperly sharing confidential client information in attempts to manipulate spot FX currency

rates, including in collusion with traders at other firms, in a way that could disadvantage those

clients and the market.” The FCA press release announcing the fine stated that between January

1, 2008 and October 15, 2013, “Barclays’ systems and controls over its FX business were

inadequate” and “[t]hese failings gave traders in those businesses the opportunity to engage in

behaviours that put Barclays’ interests ahead of those of its clients, . . . [which] included

inappropriately sharing information about clients’ activities and attempting to manipulate spot

FX currency rates, including in collusion with traders at other firms, in a way that could

disadvantage those clients and the market.” The Bank of England is supporting the FCA in its

ongoing investigation of the FX manipulation conspiracy.

       201.   On July 21, 2014, the United Kingdom Securities Fraud Office (“SFO”) launched

a criminal investigation into allegations of fraudulent conduct in the FX market. On December

19, 2014, the SFO and City of London Police arrested RBS trader Paul Nash in connection with




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the investigation.   The SFO also sought interviews with several former Defendant traders,

including Citigroup’s ex-European head of spot trading Rohan Ramchandani; Richard Usher,

who moved from RBS to become JPMorgan’s chief currency dealer in London; Matt Gardiner,

who was at Barclays before joining UBS; and Chris Ashton, the former head of spot trading at

Barclays. The SFO closed its investigation in March 2016.

       202.    The Swiss Financial Market Supervisory Authority (“FINMA”) and the Swiss

competition commission, “Weko,” is currently investigating numerous Defendants, including

RBS, Barclays, UBS, Credit Suisse, JPMorgan, and Citigroup. FINMA initiated enforcement

proceedings against UBS for suspected market abuse in FX trading in October 2013, and on

November 11, 2014, FINMA announced that it was imposing several sanctions on UBS after

finding that UBS “severely violated” proper conduct in FX markets. In addition to imposing a

fine of 134 million Swiss francs ($130 million), FINMA required UBS to limit salaries for FX

traders and managers, and to automate at least 95 percent of its FX trading in order to limit

opportunities for trader manipulation.     In December 2015, FINMA announced that it was

imposing sanctions on at least six former UBS managers and traders. The announcement noted

that “[t]raders shared confidential client information, sometimes revealing the identity of clients

to third parties, deliberately triggered stop-loss orders and engaged in front running. They also

repeatedly attempted to manipulate foreign exchange benchmarks.” The sanctioned former

traders were banned for up to five years for their alleged participation in conspiracies to

manipulate prices for FX and precious metals.          FINMA and Weko are continuing their

investigations of UBS and other Defendants.

       203.    In 2013, the European Commission launched an antitrust investigation into

allegations of manipulation of currency rates.       The European Commission investigation is




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currently ongoing. As recently as June 2016, the European Commission asked banks to gather

sales data that could be used to calculate eventual penalties.

       204.      On February 15, 2017, following a two-year antitrust investigation, the

Competition Commission of South Africa filed a complaint against Bank of America, Barclays,

BNP Paribas, Citigroup, Credit Suisse, HSBC, JPMorgan, and Standard Chartered; as well as

Commerzbank AG, Investec Ltd., Macquarie Bank Limited, Nomura International Plc., Standard

Bank of South Africa Ltd., and Standard New York Securities Inc.               The Competition

Commission alleges that from at least 2007 to 2013, the banks conspired to manipulate U.S.

Dollar to South Africa Rand exchange rates, in violation of South African antitrust laws.

Specifically, the Competition Commission alleges that the banks colluded on prices for bids,

offers, and bid-offer spreads for spot trades on rand-to-dollar exchanges; and that they

manipulated rates by coordinating trades and creating fictitious bids and offers. The Competition

Commission referred the matter to a tribunal for formal prosecution, and is seeking fines of 10

percent of each bank’s gross revenues in South Africa.

       205.      On February 20, 2017, the Competition Commission of South Africa filed a

settlement with Citigroup. Under the terms of the settlement, Citigroup agreed to cooperate with

the Commission and provide witnesses to assist the prosecution of the other banks, and to pay an

administrative penalty of 69,500,860 Rand (approximately $5.4 million).        The Competition

Commission press release announcing the settlement states that “from at least 2007, Citibank

N.A. and its competitors had a general agreement to collude on prices for bids, offers and bid-

offer spreads for the spot trades in relation to currency trading involving US Dollar / Rand

currency pair.     Further, the Commission found that Citibank N.A. and its competitors




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manipulated the price of bids and offers through agreements to refrain from trading and creating

fictitious bids and offers at particular times.”

        206.    Brazil’s antitrust agency, the Administrative Council for Economic Defense

(“CADE”), launched an investigation in 2015 of Bank of America, BTMU, Barclays, Citigroup,

Credit Suisse, Deutsche Bank, HSBC, JPMorgan, Morgan Stanley, RBC, RBS, Standard

Chartered, and UBS for their roles in the FX manipulation conspiracy. On July 14, 2015, CADE

confirmed the names of 30 bankers under investigation, including former RBS and JPMorgan

trader Richard Usher; former Barclays and UBS trader Chris Ashton; Ashton's former colleague

and former RBS trader Michael Weston; Ashton’s former Barclays colleague Mark Clark;

Citigroup’s former European head of spot trading Rohan Ramchandani; Paul Nash from RBS;

former UBS and Standard Chartered trader Matthew Gardiner; Gardiner's former boss at UBS

Niall O’Riordan; and former Standard Chartered trader Eduardo Hargreaves. CADE alleged

that the banks colluded to influence benchmark FX rates by aligning positions and pushing

transactions in a way that deterred competitors from the market between from at least 2007 to

2013. In December 2016, CADE announced that Barclays, Citigroup, Deutsche Bank, HSBC,

and JPMorgan had admitted to participating in a conspiracy to manipulate foreign exchange

markets. In agreements approved by a Brazilian tribunal, the banks were required to pay fines of

183.5 million reals ($54.4 million). CADE also announced that there were “strong indications”

that BNP Paribas was also involved in the conspiracy.

        207.    In March 2016, the South Korean Fair Trade Commission announced that it was

imposing fines on HSBC and Deutsche Bank for colluding on bids for FX Instruments.

        208.    On May 24, 2017, the NYDFS announced that BNP Paribas would be required to

pay $350 million for FX violations that included coordinating with other dealer banks to carry




                                                   81
out fake trades designed to manipulate prices, coordinating with other dealer banks to set fix

spreads for customers trading in certain currencies, and improperly sharing customer

information.

       209.    On July 17, 2017, the Federal Reserve Board announced that it was fining BNP

Paribas $246 million for illegal practices in the FX market. The Federal Reserve Board found

that BNP Paribas traders used electronic chatrooms to communicate with competitors about their

trading positions.

       210.    On July 24, 2017, the Federal Reserve Board announced that it was banning

former Barclays FX trader Michael Weston from the U.S. banking industry for engaging in

illegal FX trading practices including using electronic chat rooms to discuss the coordination of

trading around FX benchmark fixes and disclosing confidential information of Barclays and its

customers to traders at other banks.

       211.    On September 29, 2017, the Federal Reserve Board fined HSBC $175 million for

unsafe and unsound practices in FX trading.

       212.    On November 13, 2017, the NYDFS announced that Credit Suisse would be

required to pay $135 million for FX violations that included front-running client orders,

improperly sharing customer information, and other illegal conduct that disadvantaged customers

from “at least” 2008 to December 2015.

       213.    On January 18, 2018, the DOJ announced that HSBC had agreed to pay a $63.1

million criminal penalty as well as $38.4 million in restitution and disgorgement to resolve

charges that it engaged in a scheme to defraud clients through front-running on FX Instruments.

       214.    On January 25, 2018, the DOJ announced that BNP Paribas had pled guilty to

participating in t a price-fixing conspiracy in the FX market. As part of the plea deal, BNP




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Paribas agreed to pay a criminal fine of $90 million. On February 16, 2018, the Federal Reserve

Board announced that it is seeking to permanently ban Peter Little, the former head of the FX

spot desk at Barclays Bank PLC in New York, from the banking industry and to impose a

$487,500 fine on him.

       215.    Other countries, including Germany, Singapore, Australia, Hong Kong, and New

Zealand, have opened investigations of one or more Defendants for their anticompetitive conduct

in the FX market.

       216.    On September 30, 2014, the Financial Stability Board, an international financial

oversight body, released a report on FX benchmark rates with recommendations for reform in the

FX markets, and especially the WM/Reuters Fix, in order to prevent wrongful manipulation of

benchmark rates in the future.

       217.    As alleged above, a significant number of government investigations into

Defendants’ FX operations are ongoing, and government agencies continue to bring criminal and

administrative actions against Defendants and Defendants’ former FX employees. Defendants

continue to be able to communicate between firms and disclose the same types of confidential

information that Defendants have used throughout the Conspiracy to manipulate FX prices.

Therefore, it is clear that the risk of future FX-related misconduct by Defendants has not yet

been adequately curtailed.

       218.    In addition to the numerous ongoing investigations into Defendants’ FX

operations, government agencies also continue to investigate Defendants for manipulating a

variety of other financial instruments.

       219.    All sixteen Defendants have confirmed in public filings that they have been the

subjects of government investigations into the manipulation of FX rates.




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V.        DIRECT PURCHASER LITIGATION AND SETTLEMENTS

          220.   On November 1, 2013, plaintiff Haverhill Retirement System filed a class action

complaint in this District on behalf of persons and entities that purchased FX Instruments

directly from Defendants Barclays, Citigroup, Credit Suisse, Deutsche Bank, JPMorgan, RBS,

and UBS, seeking damages for the same FX manipulation conspiracy alleged in this Complaint

under the Section 1 of the Sherman Act. See FOREX at ECF No. 1.

          221.   On January 28, 2015, the court denied a motion, made by the eleven Defendant

groups named at the time, to dismiss the direct purchaser claims under Rule 12(b)(6). See

FOREX, 74 F. Supp. 3d 581, 601 (S.D.N.Y 2015) (ECF No. 242).               The January opinion

dismissed, however, two separate “Foreign Complaints” that alleged antitrust violations on

behalf of persons who traded FX with Defendants in South Korea and Norway. Id. at 589, 598.

          222.   Subsequent plaintiffs (collectively, “Direct Purchaser Class Plaintiffs”) filed

complaints with similar allegations against all Defendants named in this action, on behalf of

persons and entities that entered into FX Instruments directly with Defendants and directly on

U.S. exchanges, seeking damages under the Sherman Act and the Commodity Exchange Act.

On February 13, 2016, the FOREX complaints were consolidated before this Court. Id. at ECF

No. 96.

          223.   On October 22, 2015, the Direct Purchaser Class Plaintiffs in FOREX moved for

preliminary approval of settlements totaling $2,009,075,000 with nine of the sixteen Defendant

groups named in this action: (1) JPMorgan; (2) UBS; (3) Citigroup; (4) Barclays; (5) Bank of

America; (6) Goldman Sachs; (7) RBS; (8) BNP Paribas; and (9) HSBC. Id. at ECF Nos. 480-

81. The remaining seven Defendants groups named in FOREX, all of whom are also named in

this Complaint, were not parties to those initial Direct Purchaser Class Settlements: (1) BTMU;

(2) Credit Suisse; (3) Deutsche Bank; (4) Morgan Stanley; (5) RBC; (6) SocGen; and (7)


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Standard Chartered. Id. The motion for preliminary approval also requested that the court

certify the Direct and Exchange-Only Settlement Classes for purposes of the Direct Purchaser

Class Settlements. Id.

       224.   On December 15, 2015, this Court preliminarily approved the Direct/Exchange-

Only Class Settlements, designated a settlement administrator, and preliminarily certified the

Direct and Exchange-Only Settlement Classes. Id. at ECF No. 536.

       225.   On August 31, 2016, the Direct Purchaser Class Plaintiffs filed a motion for

approval of a plan of notice, allocation, and distribution of the Direct/Exchange-Only Class

Settlements. Id. at ECF No. 653.

       226.   On July 28, 2017, the FOREX plaintiffs moved for preliminary approval of

settlements totaling $111,200,000 with Morgan Stanley, RBC, SocGen, Standard Chartered, and

BTMU. Id. at ECF No. 820. The Court granted preliminary approval on September 8, 2017. Id.

at ECF No. 875. On September 29, 2017, the FOREX plaintiffs moved for preliminary approval

of a settlement for $190,000,000 with Deutsche Bank. Id. at ECF No. 875. The Court granted

preliminary approval that same day. Id. at ECF No. 882. The fifteen Defendant groups that have

entered into settlements in FOREX are referred to herein as “Settling Defendants.”

       227.   On January 12, 2018, the FOREX plaintiffs filed a motion for final approval of the

settlements with all fifteen Settling Defendant groups. Id. at ECF No. 924. The Court granted

final approval on August 6, 2018. Id. at ECF No. 1110. The FOREX litigation is ongoing against

Credit Suisse Group AG; Credit Suisse AG; and Credit Suisse Securities (USA) LLC

(collectively, the “Non-Settling Defendants”).




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VI.    DEFENDANTS TERMINATED AND SUSPENDED TRADERS, FORCED
       TRADERS TO RESIGN, AND IMPLEMENTED INTERNAL SAFEGUARDS
       AFTER THE CLASS PERIOD

       228.    Since allegations of Defendants’ illegal manipulation of FX rates first became

public, Defendants have terminated and suspended numerous traders and trade supervisors

involved in FX operations. Defendants have also put traders on leave and forced traders to

resign their positions. These terminations and punitive measures highlight the seriousness of the

government investigations into Defendants’ FX operations, and of Plaintiffs’ allegations herein.

       229.    In response to government fines and sanctions beginning in 2014, Defendants

including Barclays, Citigroup, Credit Suisse, Deutsche Bank, Goldman Sachs, JPMorgan,

Morgan Stanley, RBS, and UBS have instituted policies banning their traders from participating

in multi-bank chat rooms. Those Defendants also fired more than 50 FX traders and trading

supervisors.

       230.    Citigroup announced in February 2014 that its head of FX operations Anil Prasad

would be leaving the bank to “pursue other interests.” Citigroup also fired its head of European

FX spot trading, Rohan Ramchandani. In addition to FX executives, Citigroup also fired and/or

suspended several less-senior FX traders. In 2015, one of these fired Citigroup traders, Perry

Stimpson, sued Citigroup in London for wrongful discharge. Stimpson argued at trial that he

was pressured by senior Citigroup FX employees into using electronic chat rooms to share

information with traders at other banks, and stated at trial that his “actions were normal across

the industry” and at the bank. Several other former traders from Citigroup and other Defendant

banks have brought similar wrongful termination claims against their former employers.

       231.    In February 2017, former Citigroup trader Baris Ozkaptan prevailed in his unfair

dismissal suit against Citigroup in a U.S. employment tribunal. Ozkaptan was fired by Citigroup

for sharing the identities of clients in electronic chats, but he alleged in his suit that the bank


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turned a “blind eye” to traders sharing confidential client information. Ozkaptan testified in

November 2016 that Citigroup traders would routinely disclose client orders to competitors and

salespeople would warn preferred customers about trades before they moved markets if it

benefited Citigroup.

       232.   Former Citigroup traders Perry Stimpson, Carly McWilliams, and Robert

Hoodless have all received favorable rulings in U.K. courts on at least part of their claims

alleging that they were wrongfully dismissed by Citigroup. The judge hearing Stimpson’s claims

found that there were “serious inadequacies” in Citigroup’s investigation before Stimpson’s

dismissal, and held that “[t]his was a very serious failure to investigate despite having very

substantial resources.”   In her witness statement at trial, McWilliams stated that sharing

information with rivals was part of her “everyday job” at Citigroup. Hoodless alleged that his

bosses at Citigroup “made him a scapegoat” for the FX market-manipulation scandal.

       233.   UBS terminated and suspended a number of traders in connection with the FX

conspiracy. In 2013, UBS suspended its global co-head of G10 FX trading in London, Niall

O’Riordan. Also in 2013, UBS fired two traders in Singapore, Mukesh Kumar Chhaganlal and

Prashan Parmeshwar Sunny Miripuri. Chhaganlal and Miripuri sued UBS in Singapore’s High

Court in March 2013 for wrongful dismissal, alleging that the bank fired them to lessen UBS’s

perceived role in the alleged manipulation of FX rates. In March 2014, UBS suspended at least

six more traders in the U.S., Singapore, and Switzerland. In June 2015, after UBS had paid

substantial fines and conducted an independent investigation into its involvement in the FX

manipulation conspiracy, UBS reinstated one of the traders that it had previously fired or

suspended.




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       234.   Deutsche Bank in January 2014 dismissed three of its New York-based FX

traders—Diego Moraiz, who dealt in Latin American currencies; Robert Wallden, a director in

Deutsche Bank’s New York FX trading unit; and Christopher Fahy, a managing director at

Deutsche Bank’s New York FX office and a former FX trader at Merrill Lynch—following an

internal investigation into alleged FX manipulation.   Robert Wallden had previously been

questioned by the U.S. Federal Bureau of Investigation in 2013, regarding his electronic

communications with other FX traders.

       235.   RBS has terminated and suspended several FX employees. In October 2013, RBS

suspended London-based FX spot traders Julian Munson and Paul Nash.

       236.   In 2015, former RBS trader Ian Drysdale brought an unfair dismissal lawsuit

against RBS in London. Drysdale told a London tribunal that RBS “had to find relevant

scapegoats, of which I was one,” and issued a statement claiming that “the real reason for my

dismissal was to deflect attention from the respondent's (RBS's) own admitted failures.” The

London judge ruled that RBS’s termination of Drysdale was unfair, but awarded the trader no

compensation because “[h]e, along with a number of others, was doing something he knew was

fundamentally wrong.”

       237.   HSBC suspended two of its London-based FX traders on January 17, 2014, amid

multiple government investigations into HSBC’s FX operations. One of the suspended traders

was Serge Sarramegna, HSBC’s chief trader for major foreign currencies.

       238.   Barclays suspended at least six FX traders on or about October 31, 2013,

including chief global FX dealer Chris Ashton, Tokyo trader Jack Murray, and London trader

Mark Clark. The New York Department of Financial Services required Barclays to terminate




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eight FX traders as a part of Barclays’ penalties for its involvement in the FX rate manipulation

conspiracy.

        239.   JPMorgan placed senior FX trader Richard Usher, the former head of spot G10

currency trading for the bank, on paid leave in October 2013 amid government inquiries into

potential manipulation of the FX market. In October 2014, Usher formally left the bank.

        240.   Goldman Sachs dismissed one of its FX traders, Frank Cahill, in November 2014

for his alleged involvement in FX manipulation. Prior to Goldman Sachs, Cahill worked at

HSBC.

        241.   Bank of America suspended several senior FX traders in 2014.

        242.   BNP Paribas placed several senior FX traders on leave in 2014, after the bank

became a subject of government investigations into the FX manipulation conspiracy. At least

one of the suspended traders worked at Citigroup as an FX trader prior to working at BNP

Paribas.

        243.   SocGen has fired at least one currency trader for involvement in the FX

conspiracy.    In 2015, SocGen dismissed Ilan Botbol for several instances of misconduct

regarding FX trading. Later that year, Botbol sued SocGen in French court for unfair dismissal.

SocGen responded to the suit by arguing that the termination was justified in part because Botbol

shared confidential customer information with a Morgan Stanley trader in 2009 and invited the

trader to profit from that information. However, SocGen did not terminate Botbol until six years

after that incident took place. Botbol argued that SocGen’s claims are undermined by the bank’s

failure to monitor employee behavior and to act promptly upon learning of the alleged

infringements. Botbol also alleged that SocGen encouraged traders to gain market intelligence by

sharing information with traders at other banks.




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       244.    In February 2017, Deutsche Bank purchased full-page advertisements in the

German newspapers Frankfurter Allgemeine Zeitung and Sueddeutsche Zeitung to publish a

letter from CEO John Cryan apologizing to Deutsche Bank customers for the bank’s “serious

errors” in the U.S. subprime mortgage crisis as well as unspecified “other cases as well.” The

letter states that “some time ago serious errors were made,” “[t]he conduct of our bank did not

meet our standards and was unacceptable” in the mortgage case and “other cases as well,” and

“[i]n the name of the board of the Deutsche Bank I would now like to take this opportunity to

express our deep regret for what has happened.”

       245.    Defendants have recently implemented surveillance systems to prevent their

traders from manipulating the FX market in the future. According to PricewaterhouseCoopers’

2016 Market Abuse Surveillance Survey, FX dealer banks have recently hired large surveillance

teams to review messages and listen in on phone calls between traders, in order to detect and

deter illegal collusion by FX traders. The PricewaterhouseCoopers report, published in February

2016, states that FX dealer banks participating in their survey expect to substantially increase

their investments in trader surveillance in the next year, with most projecting between $7 million

and $14 million in additional spending. Some banks employ as many as 50 people to parse

through trader emails and messages and listen to trader calls in efforts to detect illegal conduct.

       246.    Despite these actions, Defendant misconduct in the FX market continues to this

day. For example, in February 2018, the Hong Kong Securities and Futures Commission

(“SFC”) fined Credit Suisse approximately $5 million for regulatory violations related to Credit

Suisse’s FX trading operations. The SFC found that as far back as April 2003, and as recently as

July 2017, Credit Suisse engaged in trading activities that included failing to segregate client

funds, failing to report FX transactions, failure to report Credit Suisse’s short positions, selling




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risky investment products to clients, and the charging of incorrect rates and commissions to FX

clients.

                             ANTITRUST INJURY TO PLAINTIFFS

           247.   Defendants are the largest and most dominant FX traders in the global financial

system, and particularly in the U.S. FX market.          Defendants are horizontal competitors,

competing to buy and sell FX by supplying quotes for FX trades. In a competitive FX market,

absent collusion, bid-ask spreads on FX Instruments would be extremely narrow, as Defendants

would drive down spreads by competing with each other to offer customers more desirable rates.

As a result, bid-ask spreads on FX Instruments purchased indirectly from Defendants would be

similarly narrow.

           248.   Defendants’ conspiracy harmed competition among dealers in the FX market. As

a result of Defendants’ collusion, indirect purchasers, including Plaintiffs and members of the

proposed Classes, paid higher prices for FX Instruments than they would have in a competitive

market.

           249.   As alleged above, Defendants’ manipulation of the Fixes and FX spot rates

resulted in anticompetitive prices for all FX Instruments. Defendants’ manipulation of the FX

market was so pervasive that Plaintiffs and the other members of the proposed Classes could not

have participated in the FX market during the Class Period without suffering damage as a result

of Defendants’ anticompetitive conduct.       As a direct and proximate result of Defendants’

conspiracy, Plaintiffs and members of the proposed Classes were deprived of the advantageous

prices, exchange rates, and bid-ask spreads that would have resulted from normal price

competition in the FX market.

           250.   Defendants’ conduct in furtherance of the conspiracy harmed Plaintiffs and the

Class members in several ways. Defendants conspired to fix prices and conform their FX trade


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quotes. Defendants also agreed to coordinate the timing and volume of trades in order to

manipulate the market, to the benefit of Defendants and the ultimate detriment of Plaintiffs and

the members of the Proposed Classes. These actions, individually and collectively, had the

effect of artificially increasing the prices paid by non-Defendant FX purchasers and decreasing

the prices received by non-Defendant FX sellers, thereby overcharging FX customers. Thus,

Defendants’ actions deprived Plaintiffs and the members of the Proposed Classes of a

competitive marketplace and exposed them to artificial pricing and volatility.

       251.    The injuries suffered by Plaintiffs and members of the proposed Classes are

directly traceable to Defendants’ anticompetitive conduct alleged herein. On any day that one or

more of the Fixes or spot rates were manipulated by Defendants, all members of the Direct

Settlement Class (i.e. all entities that purchased FX Instruments directly from Defendants and

Defendants’ co-conspirators) paid supracompetitive prices for those FX Instruments. Each time

a member of the proposed Classes purchased an FX Instrument directly from a member of the

Direct Settlement Class (and thus indirectly purchased from one or more Defendants or co-

conspirators), the overcharge incurred by the direct purchaser as a result of Defendants’ FX

manipulation was directly passed on to the member of the proposed Classes. Similarly, for any

transaction in which a Defendant sold an FX Instrument to a member of the Direct Settlement

Class at an artificially inflated (i.e. price-fixed) price and the Direct Settlement Class member

resold that FX Instrument to a Plaintiff or member of the proposed Classes, the Direct Settlement

Class member directly passed that anticompetitive overcharge to the Class member.

       252.    Absent collusion, each individual Defendant would have had an independent

incentive to quote tighter bid-ask spreads in order to stay competitive with other dealers in the




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FX market. Thus, no single Defendant would have fixed its own bid-ask spread but for a

conspiracy among multiple Defendants.

       253.   Absent collusion, an individual Defendant’s attempt to manipulate FX rates

would have little to no effect on the FX market.        Thus, no single Defendant could have

consistently manipulated FX rates but for the conspiracy.

                             FRAUDULENT CONCEALMENT

       254.   Throughout the Class Period, Defendants knowingly, fraudulently, and

deliberately concealed their conspiracy to fix FX prices from Plaintiffs and members of the

proposed Classes.

       255.   Concealment of the secret communications between Defendants was an essential

element of the conspiracy to manipulate FX prices. Defendants communicated through non-

public chat rooms, phone calls, instant messages, text messages, email, and at in-person

meetings.

       256.   On June 11, 2013, Bloomberg Business published an article reporting that several

Defendants had colluded to manipulate the WM/Reuters Fixes by collectively front-running

customer orders.    To Plaintiffs’ knowledge, this was the first public report concerning

Defendants’ price manipulation in the FX market. Subsequent news articles and government

investigation reports further revealed the involvement of all Defendants and the nature of

Defendants’ widespread conspiracy.

       257.   Prior to the Bloomberg article, information regarding Defendants’ conspiracy was

not reasonably available to Plaintiffs or members of the proposed Classes.

       258.   Defendants     only   allowed   high-level    traders   to   participate   in   secret

communications regarding the conspiracy. In efforts to avoid detection, these traders used code




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words and names, phone calls, encrypted messages, and other communication platforms that are

difficult or impossible to trace.

        259.    In one example of a trader attempting to conceal FX manipulation, a JPMorgan

FX trader warned a Barclays trader that they should not discuss their plan to manipulate the

USD/South African Rand rate via instant message. In a November 4, 2010 chat transcript that

was later uncovered by the New York Department of Financial Services, the Barclays trader

stated, “if you win this we should coordinate you can show a real low one and will still mark it

little lower haha.” The JPMorgan trader replied that they “prolly shudnt put this on perma chat,”

and Barclays trader responded “if this is the chat that puts me over the edge than oh well. much

worse out there.”

        260.    As a result of Defendants’ efforts to conceal their conspiracy, Defendants

successfully prevented Plaintiffs from being able to learn of the facts needed to bring suit against

Defendants for conspiring to manipulate FX prices until at least June 11, 2013.

        261.    Because Defendants fraudulently concealed their conspiracy in deliberate efforts

to prevent Plaintiffs and members of the proposed Classes from commencing suit, Defendants

are equitably estopped from asserting that any otherwise applicable limitations period has run.

                                      CLAIMS FOR RELIEF

                                FIRST CLAIM FOR RELIEF
                                Violations of the Donnelly Act,
                       New York General Business Laws § 340, et seq.
                 (On Behalf of the New York Plaintiff against All Defendants)

        262.    Plaintiffs incorporate each allegation above as if fully set forth herein.

        263.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the New York General Business Laws § 340, et seq. (the “Donnelly Act”). The New




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York Plaintiff, on behalf of the proposed statewide New York Class of indirect FX purchasers,

alleges as follows:

               a.     Beginning at least as early as December 1, 2007, and continuing

throughout the Class Period, Defendants and their co-conspirators entered into and engaged in an

agreement, arrangement, or combination, in violation of New York General Business Laws §

340, et seq., by engaging in the acts and practices detailed above. Each Defendant has acted in

violation of § 340 to restrain competition and fix, raise, and maintain artificial prices for FX

Instruments.

               b.     Defendants’ and their co-conspirators’ agreement, arrangement, or

combination had the following effects: (i) FX Instrument price competition was restrained,

suppressed, and eliminated throughout New York; (ii) FX Instrument prices were raised, fixed,

maintained, and stabilized at artificially high levels throughout New York; (iii) the New York

Plaintiff and members of the New York Class were deprived of free and open competition; and

(iv) the New York Plaintiff and members of the New York Class were overcharged for FX

Instruments that they indirectly purchased from Defendants and Defendants’ co-conspirators.

               c.     Throughout the Class Period, Defendants’ anticompetitive conduct alleged

herein substantially affected intrastate New York commerce. The New York Plaintiff and all

members of the proposed New York Class were domiciled in New York during the Class Period

and/or purchased FX Instruments in New York indirectly from one or more Defendants during

the Class Period. Many Defendants are headquartered in New York City and/or maintain their

principal places of business in New York, and Defendants all conduct significant business in

New York, including business relating to FX trading. Defendants Merrill Lynch, Pierce, Fenner

& Smith Inc.; Barclays Capital Inc.; BNP Paribas North America, Inc.; BNP Paribas Securities




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Corp.; BNP Paribas Prime Brokerage, Inc.; Citigroup Inc.; Citibank, N.A.; Citigroup Global

Markets Inc.; Credit Suisse Securities (USA) LLC; Deutsche Bank Securities Inc.; The Goldman

Sachs Group, Inc.; Goldman, Sachs & Co; HSBC North America Holdings, Inc.; HSBC Bank

USA, N.A.; HSBC Securities (USA) Inc.; JPMorgan Chase & Co.; JPMorgan Chase Bank, N.A.;

Morgan Stanley; Morgan Stanley & Co., LLC; and RBC Capital Markets LLC all have their

principal places of business and/or headquarters in New York, New York. Defendants Bank of

America Corporation; The Bank of Tokyo Mitsubishi UFJ Ltd.; Société Générale S.A.; Standard

Chartered Bank; UBS Securities LLC; Barclays Bank PLC; Credit Suisse AG; Deutsche Bank

AG; and Royal Bank of Scotland PLC all have major New York offices and conduct a

substantial portion of their FX trading in New York. All Defendants communicated regularly

with Defendant traders in New York for purposes of carrying out the unlawful conspiracy

alleged herein.

                  d.   Defendants’ agreement, arrangement, or combination caused the New

York Plaintiff and the members of the New York Class to incur anticompetitive overcharges on

FX Instruments. The New York Plaintiff and the members of the New York Classes thereby

suffered injury in fact in the form of lost money or property.

                  e.   By reason of the foregoing, Defendants have entered into agreements in

restraint of trade in violation of the Donnelly Act, New York General Business Laws § 340, et

seq. The conduct set forth above is a per se violation of the Act. Accordingly, the New York

Plaintiff and members of the New York Class seeks treble damages, costs of suit (up to $10,000),

and reasonable attorneys’ fees.




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                                SECOND CLAIM FOR RELIEF
                      Violations of Arizona’s Uniform State Antitrust Act,
                          Arizona Revised Statutes, §§ 44-1401, et seq.
                    (On Behalf of the Arizona Plaintiff against All Defendants)

       264.    Plaintiffs incorporate each allegation above as if fully set forth herein.

       265.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Arizona Revised Statutes, §§ 44-1401, et seq.

       266.    Defendants have entered into an unlawful contract, combination, or conspiracy in

restraint of trade and commerce, in violation of the Arizona Revised Statutes, §§ 44-1401, et seq.

(the “Uniform State Antitrust Act”). The Arizona Plaintiff, on behalf of the proposed statewide

Arizona Class of indirect FX purchasers, alleges as follows:

               a.       Beginning at least as early as December 1, 2007, and continuing

throughout the Class Period, Defendants and their co-conspirators entered into and engaged in a

continuing unlawful conspiracy in restraint of the trade and commerce, as described above, in

violation of the Uniform State Antitrust Act. Each Defendant has acted in violation of the

Uniform State Antitrust Act to fix, raise, and maintain artificial prices for FX Instruments.

               b.       Defendants’ unlawful conspiracy consisted of a continuing agreement,

understanding, and concerted action among Defendants and their co-conspirators. Defendants

entered into and participated in the unlawful trust for purposes of, inter alia, (i) creating and

carrying out restraints in the FX market; (ii) artificially manipulating the prices of FX

Instruments, including FX Instruments sold in Arizona and to Arizona residents; (iii) preventing

competition and competitive prices in the FX market; (iv) establishing and settling prices for FX

Instruments between Defendants, so as to preclude unrestrained competition among themselves

and all purchasers and owners of FX Instruments; and (v) creating and carrying out agreements




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to pool and combine Defendants’ financial interests connected with their sales and purchases of

FX Instruments.

               c.       The combination and conspiracy alleged herein has had, inter alia, the

following effects: (i) price competition in the market for the sale of FX Instruments has been

restrained and suppressed in the State of Arizona and throughout the United States; (ii) prices for

FX Instruments have been fixed, raised, stabilized, and pegged at artificial levels in the State of

Arizona and throughout the United States; and (iii) those who purchased FX Instruments directly

or indirectly from Defendants and their co-conspirators have been deprived of the benefit of free

and open competition.

               d.       As a direct and proximate result of Defendants’ unlawful conduct, the

Arizona Plaintiff and members of the Arizona Class have been injured in their business and

property in that they incurred overcharges on FX Instruments that they otherwise would not have

incurred in the absence of Defendants’ unlawful conduct.

               e.       Defendants’ violations of the Uniform State Antitrust Act were flagrant, as

defined by Arizona law.

               f.       As a result of Defendants’ violations of the Uniform State Antitrust Act,

the Arizona Plaintiff and members of the Arizona Class seek three times the damages sustained

and their cost of suit, including reasonable attorney’s fees.

                               THIRD CLAIM FOR RELIEF
                              Violations of the Cartwright Act,
                  California Business and Professions Code § 16720, et seq.
                (On Behalf of the California Plaintiffs against All Defendants)

       267.    Plaintiffs incorporate each allegation above as if fully set forth herein.

       268.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the California Business and Professions Code, § 16700, et seq. (the “Cartwright



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Act”). The California Plaintiffs, on behalf of the proposed statewide California Class of indirect

FX purchasers, allege as follows:

               a.      Beginning at least as early as December 1, 2007, and continuing

throughout the Class Period, Defendants and their co-conspirators entered into and engaged in a

continuing unlawful trust in restraint of the trade and commerce, as described above, in violation

of California Business and Professions Code § 16720. Each Defendant has acted in violation of

§ 16720 to fix, raise, and maintain artificial prices for FX Instruments.

               b.      Defendants’ unlawful trust consisted of a continuing agreement,

understanding, and concerted action among Defendants and their co-conspirators. Defendants

entered into and participated in the unlawful trust for purposes of, inter alia, (i) creating and

carrying out restraints in the FX market; (ii) artificially manipulating the prices of FX

Instruments, including FX Instruments sold in California and to California residents; (iii)

preventing competition and competitive prices in the FX market; (iv) establishing and settling

prices for FX Instruments between Defendants, so as to preclude unrestrained competition

among themselves and all purchasers and owners of FX Instruments; and (v) creating and

carrying out agreements to pool and combine Defendants’ financial interests connected with their

sales and purchases of FX Instruments.

               c.      The combination and conspiracy alleged herein has had, inter alia, the

following effects: (i) price competition in the market for the sale of FX Instruments has been

restrained and suppressed in the State of California and throughout the United States; (ii) prices

for FX Instruments have been fixed, raised, stabilized, and pegged at artificial levels in the State

of California and throughout the United States; and (iii) those who purchased FX Instruments




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directly or indirectly from Defendants and their co-conspirators have been deprived of the

benefit of free and open competition.

               d.     As a direct and proximate result of Defendants’ unlawful conduct, the

California Plaintiffs and members of the California Class have been injured in their business and

property in that they incurred overcharges on FX Instruments that they otherwise would not have

incurred in the absence of Defendants’ unlawful conduct.

               e.     As a result of Defendants’ violations of the Cartwright Act, the California

Plaintiffs and members of the California Class seek treble damages and their cost of suit,

including reasonable attorney’s fees, pursuant to § 16750(a) of the California Business and

Professions Code.

                              FOURTH CLAIM FOR RELIEF
                    Violations of California’s Unfair Competition Law,
                  California Business and Professions Code § 17200, et seq.
                (On Behalf of the California Plaintiffs against All Defendants)

       269.    Plaintiffs incorporate each allegation above as if fully set forth herein.

       270.    Defendants have engaged in unfair competition or unfair, unconscionable,

deceptive, or fraudulent acts or practices in violation of California Business and Professions

Code § 17200, et seq. (California’s Unfair Competition Law). The California Plaintiffs, on

behalf of the proposed statewide California Classes of indirect FX purchasers, allege as follows:

               a.     Beginning at least as early as December 1, 2007, and continuing

throughout the Class Period, Defendants committed acts of unfair competition, as defined by §

17200, et seq. of the California Business and Professions Code, by engaging in the acts and

practices specified above. Each of the Defendants has acted in violation of § 17200 to fix, raise,

and maintain artificial prices for FX Instruments.




                                                100
               b.       Defendants’ conduct as alleged herein violated § 17200, et seq. of the

California Business and Professions Code. The acts, omissions, misrepresentations, practices,

and non-disclosures of Defendants, as alleged herein, constituted a common, continuous, and

continuing course of conduct of unfair competition by means of unfair, unlawful, and/or

fraudulent business acts or practices within the meaning of § 17200, et seq., including, but not

limited to, violations of the Cartwright Act, as set forth above.

               c.       Defendants’ acts, omissions, misrepresentations, practices, and non-

disclosures, as described above, whether or not in violation of the Cartwright Act, and whether or

not concerted or independent acts, were otherwise unfair, unconscionable, unlawful, or

fraudulent.

               d.       Defendants’ acts and practices were unfair to indirect purchasers of FX

Instruments in the State of California within the meaning of § 17200 of the California Business

and Professions Code.

               e.       Defendants’ acts and practices were fraudulent or deceptive within the

meaning of § 17200 of the California Business and Professions Code.

               f.       The California Plaintiffs and members of the California Class are entitled

to full restitution and/or disgorgement of all revenues, earnings, profits, compensation, and

benefits that may have been obtained by Defendants as a result of such business acts or practices.

               g.       The unlawful and unfair business practices of Defendants caused the

California Plaintiffs and the members of the California Class to incur overcharges on FX

Instruments. The California Plaintiffs and the members of the California Class suffered injury in

fact in the form of lost money or property as a result of such unfair competition.




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                h.     As alleged in this Complaint, Defendants and their co-conspirators have

been unjustly enriched as a result of their wrongful conduct and by Defendants’ unfair

competition. The California Plaintiffs and the members of the California Class are accordingly

entitled to equitable relief, including restitution and/or disgorgement of all revenues, earnings,

profits, compensation, and benefits that may have been obtained by Defendants as a result of

such business practices, pursuant to the California Business and Professions Code, §§ 17203 and

17204.

                              FIFTH CLAIM FOR RELIEF
           Violations of the Florida Deceptive and Unfair Trade Practices Act,
                                Fla. Stat. § 501.201, et seq.
      (On Behalf of the Florida Plaintiffs against All Defendants Other Than Bank of
        America, N.A., HSBC Bank USA, N.A. and JPMorgan Chase Bank, N.A.)

         271.   Plaintiffs incorporate each allegation above as if fully set forth herein.

         272.   Defendants have engaged in unfair methods of competition, unconscionable acts

or practices, and unfair or deceptive acts or practices in the conduct of trade or commerce, in

violation of Fla. Stat. § 501.201, et seq. (the “Florida Deceptive and Unfair Trade Practices

Act”). The Florida Plaintiffs, on behalf of the proposed statewide Florida Class of indirect FX

purchasers, allege as follows:

                a.     Beginning at least as early as December 1, 2007, and continuing

throughout the Class Period, Defendants and their co-conspirators entered into and engaged in

unfair methods of competition, unconscionable acts or practices, and unfair or deceptive acts or

practices in the conduct of trade or commerce, in violation of the Florida Deceptive and Unfair

Trade Practices Act. Each Defendant has acted in violation of the Florida Deceptive and Unfair

Trade Practices Act by entering into and engaging in a conspiracy to restrain competition and

unfairly and deceptively fix and inflate prices for FX Instruments.




                                                 102
               b.      Defendants’ unlawful combination or conspiracy consisted of a continuing

agreement, understanding, and concerted action among Defendants and their co-conspirators.

Defendants entered into and participated in the unlawful conspiracy for purposes of engaging in

unfair methods of competition and unfair trade practices to fix, control, and maintain the prices

charged for FX Instruments throughout the United States, including in the State of Florida.

               c.      The combination and conspiracy alleged herein has had, inter alia, the

following effects: (i) price competition in the market for the sale of FX Instruments was

restrained and decreased in Florida and throughout the United States; (ii) prices for FX

Instruments were fixed, controlled, and maintained at artificial levels in the State of Florida and

throughout the United States; (iii) those who purchased FX Instruments directly or indirectly

from Defendants and their co-conspirators were deprived of the benefits of free and open

competition; and (iv) Florida Plaintiffs and the Florida Class paid supracompetitive, artificially

inflated prices for FX Instruments.

               d.      Throughout the Class Period, Defendants’ illegal conduct substantially

affected Florida commerce and consumers.

               e.      As a direct and proximate result of Defendants’ unlawful conduct, the

Florida Plaintiffs and members of the Florida Class have been injured in their business and

property in that they incurred overcharges on FX Instruments that they otherwise would not have

incurred in the absence of Defendants’ unlawful conduct. As a result of Defendants’ violations

of the Florida Deceptive and Unfair Trade Practices Act, the Florida Plaintiffs and members of

the Florida Class seek actual damages plus attorney's fees and court costs, pursuant to Fla. Stat. §

501.211, with respect to all Defendants other than Bank of America, N.A., HSBC Bank USA,

N.A. and JPMorgan Chase Bank, N.A.




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                               SIXTH CLAIM FOR RELIEF
                           Violations of the Illinois Antitrust Act,
                               740 Ill. Comp. Stat. 10/1, et seq.
       (On Behalf of the Illinois Plaintiff against All Defendants Other Than Bank of
         America, N.A., HSBC Bank USA, N.A. and JPMorgan Chase Bank, N.A.)

       273.    Plaintiffs incorporate each allegation above as if fully set forth herein.

       274.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of 740 Ill. Comp. Stat. 10/1, et seq. (the “Illinois Antitrust Act”). The Illinois Plaintiff,

on behalf of the proposed statewide Illinois Class of indirect FX purchasers, alleges as follows:

               a.      Beginning at least as early as December 1, 2007, and continuing

throughout the Class Period, Defendants and their co-conspirators entered into and engaged in a

combination or conspiracy, in violation of the Illinois Antitrust Act, by engaging in the acts and

practices detailed above. Each Defendant has acted in violation of the Illinois Antitrust Act to

restrain competition and fix, control, and maintain prices for FX Instruments and to unreasonably

restrain trade and commerce in the market for FX Instruments.

               b.      Defendants’ unlawful combination or conspiracy consisted of a continuing

agreement, understanding, and concerted action among Defendants and their co-conspirators.

Defendants entered into and participated in the unlawful trust for purposes of fixing, controlling,

and maintaining the prices charged for FX Instruments.

               c.      The combination and conspiracy alleged herein has had, inter alia, the

following effects: (i) price competition in the market for the sale of FX Instruments was

restrained and decreased in the State of Illinois and throughout the United States; (ii) prices for

FX Instruments sold by Defendants and their co-conspirators were fixed, controlled, and

maintained at artificial levels in the State of Illinois and throughout the United States; and (iii)

those who purchased FX Instruments directly or indirectly from Defendants and their co-




                                                 104
conspirators were deprived of the benefits of unhampered commerce and free and open

competition.

                 d.     Defendants’ conduct in furtherance of the conspiracy that occurred at

Defendant offices outside of the United States had a direct, substantial, and reasonably

foreseeable effect on trade and commerce in the State of Illinois and throughout the United

States.

                 e.     As a direct and proximate result of Defendants’ unlawful conduct, the

Illinois Plaintiff and members of the Illinois Class have been injured in their business and

property in that they incurred overcharges on FX Instruments that they otherwise would not have

incurred in the absence of Defendants’ unlawful conduct. As a result of Defendants’ violations

of the Illinois Antitrust Act, the Illinois Plaintiff and members of the Illinois Class seek treble

damages, plus reasonable attorneys’ fees and court costs, pursuant to 740 Ill. Comp. Stat. Ann.

10/7, with respect to all Defendants other than Bank of America, N.A., HSBC Bank USA, N.A.

and JPMorgan Chase Bank, N.A.

                                SEVENTH CLAIM FOR RELIEF
                    Violations of the Massachusetts Consumer Protection Act
                                Mass. Gen. Laws ch. 93A, §1 et seq.
                 (On Behalf of the Massachusetts Plaintiff against All Defendants)

          275.   Plaintiffs incorporate each allegation above as if fully set forth herein.

          276.   Defendants have entered into an unlawful conspiracy in restraint of trade or

commerce in violation of Mass. Gen. Laws ch. 93A, §1 et seq. (“Chapter 93A”). The

Massachusetts Plaintiff, on behalf of the proposed statewide Massachusetts Class of indirect FX

purchasers, alleges as follows:

                 a.     Throughout the Class Period, all Defendants were engaged in trade or

commerce as defined by Chapter 93A.



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                 b.   Defendants’ conduct as alleged herein violated Chapter 93A. The acts,

omissions, misrepresentations, practices, and non-disclosures of Defendants, as alleged herein,

constituted a common, continuous, and continuing course of conduct of unfair methods of

competition and unfair or deceptive acts or practices in the conduct of trade or commerce within

the meaning of Chapter 93A.

                 c.   Defendants carried out the conspiracy through unfair methods of

competition and unfair or deceptive acts or practices.       These methods, acts, and practices

substantially affected commerce in the Commonwealth of Massachusetts and throughout the

United States.

                 d.   Defendants’ conspiracy had, inter alia, the following effects: (i) price

competition in the market for the sale of FX Instruments was restrained and decreased in

Massachusetts and throughout the United States; (ii) prices for FX Instruments sold by

Defendants and their co-conspirators were fixed, controlled, and maintained at artificial levels in

Massachusetts and throughout the United States; and (iii) those who purchased FX Instruments

directly or indirectly from Defendants and their co-conspirators were deprived of the benefits of

unhampered commerce and free and open competition.

                 e.   As a direct and proximate result of Defendants’ unlawful conduct, the

Massachusetts Plaintiff and members of the Massachusetts Class have been injured in their

business and property in that they incurred overcharges on FX Instruments that they otherwise

would not have incurred in the absence of Defendants’ unlawful conduct.

                 f.   As a result of Defendants’ violations of Chapter 93A, the Massachusetts

Plaintiff and members of the Massachusetts Class seek treble damages and their cost of suit,

including reasonable attorney’s fees, pursuant to Chapter 93A.




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               g.     Each Defendant has been mailed or delivered a demand letter in

accordance with Chapter 93A. More than thirty days has passed since such demand letters were

mailed or delivered, and each Defendant has failed to make a reasonable settlement offer.

                              EIGHTH CLAIM FOR RELIEF
                    Violations of the Minnesota Antitrust Law of 1971,
                             Minn. Stat. §§ 325D.49 to 325D.66
                (On Behalf of the Minnesota Plaintiff against All Defendants)

       277.    Plaintiffs incorporate each allegation above as if fully set forth herein.

       278.    Defendants have entered into an unlawful combination or conspiracy in

unreasonable restraint of trade in violation of Minn. Stat. §§ 325D.49 to 325D.66 (the

“Minnesota Antitrust Law of 1971”).        The Minnesota Plaintiff, on behalf of the proposed

statewide Minnesota Class of indirect FX purchasers, alleges as follows:

               a.     Beginning at least as early as December 1, 2007, and continuing

throughout the Class Period, Defendants and their co-conspirators entered into and engaged in a

combination or conspiracy, in violation of the Minnesota Antitrust Law of 1971, by engaging in

the acts and practices detailed above. Each Defendant has acted in violation of the Minnesota

Antitrust Law of 1971 to restrain competition and fix, control, and maintain the market prices for

FX Instruments; to affect, fix, control, maintain, or limit the sale or supply of FX Instruments

with the effect of affecting, fixing, controlling, or maintaining the market price for FX

Instruments; and to unreasonably restrain trade and commerce in the market for FX Instruments.

               b.     Defendants’ unlawful combination or conspiracy consisted of a continuing

agreement, understanding, and concerted action among Defendants and their co-conspirators.

Defendants entered into and participated in the unlawful trust for purposes of fixing, controlling,

and maintaining the prices charged for FX Instruments.




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               c.      The combination and conspiracy alleged herein has had, inter alia, the

following effects: (i) price competition in the market for the sale of FX Instruments was

restrained and decreased in the State of Minnesota and throughout the United States; (ii) prices

for FX Instruments sold by Defendants and their co-conspirators were affected, fixed, controlled,

and maintained at artificial levels in the State of Minnesota and throughout the United States;

(iii) price quotations of bids on FX Instruments were fixed and controlled by Defendants; and

(iii) those who purchased FX Instruments directly or indirectly from Defendants and their co-

conspirators were deprived of the benefits of free and open competition.

               d.      As a direct and proximate result of Defendants’ unlawful conduct, the

Minnesota Plaintiff and members of the Minnesota Class have been injured in their business and

property in that they incurred overcharges on FX Instruments that they otherwise would not have

incurred in the absence of Defendants’ unlawful conduct. As a result of Defendants’ violations

of the Minnesota Antitrust Law of 1971, the Minnesota Plaintiff and members of the Minnesota

Class seek treble damages and their cost of suit, including reasonable attorneys’ fees, pursuant to

Minn. Stat. Ann. § 325D.57.

                                NINTH CLAIM FOR RELIEF
                 Violations of the North Carolina Unfair Trade Practice Act
                                 N.C. Gen. Stat. § 75-1, et seq.
              (On Behalf of the North Carolina Plaintiffs against All Defendants)

       279.    Plaintiffs incorporate each allegation above as if fully set forth herein.

       280.    Defendants have entered into an unlawful conspiracy in restraint of trade or

commerce in violation of N.C. Gen. Stat. § 75-1, et seq. (the “North Carolina Unfair Trade

Practice Act”).     The North Carolina Plaintiffs, on behalf of the proposed statewide North

Carolina Class of indirect FX purchasers, allege as follows:




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              a.      Beginning at least as early as December 1, 2007, and continuing

throughout the Class Period, Defendants and their co-conspirators entered into and engaged in a

combination or conspiracy, in violation of the North Carolina Unfair Trade Practice Act, by

engaging in the acts and practices detailed above. Each Defendant knowingly entered the

conspiracy and acted in violation of the North Carolina Unfair Trade Practice Act to restrain

competition and fix, control, and maintain prices for FX Instruments and to unreasonably restrain

trade and commerce in the market for FX Instruments.

              b.      Defendants’ unlawful combination or conspiracy consisted of a continuing

agreement, understanding, and concerted action among Defendants and their co-conspirators.

Defendants willfully entered into and participated in the unlawful trust for purposes of fixing,

controlling, and maintaining the prices charged for FX Instruments.

              c.      Defendants carried out the conspiracy through unfair methods of

competition and unfair or deceptive acts or practices.     These methods, acts, and practices

substantially affected commerce in the State of North Carolina and throughout the United States.

              d.      The combination and conspiracy alleged herein has had, inter alia, the

following effects: (i) price competition in the market for the sale of FX Instruments was

restrained and decreased in North Carolina and throughout the United States; (ii) prices for FX

Instruments sold by Defendants and their co-conspirators were fixed, controlled, and maintained

at artificial levels in North Carolina and throughout the United States; and (iii) those who

purchased FX Instruments directly or indirectly from Defendants and their co-conspirators were

deprived of the benefits of unhampered commerce and free and open competition.




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                 e.       Defendants’ conspiracy in restraint of trade violates the principles of

North Carolina common law, in further violation of the North Carolina Unfair Trade Practice

Act.

                 f.       Defendants’ conspiracy was continuous throughout at least the Class

Period.

                 g.       As a direct and proximate result of Defendants’ unlawful conduct, the

North Carolina Plaintiffs and members of the North Carolina Class have been injured in their

business and property in that they incurred overcharges on FX Instruments that they otherwise

would not have incurred in the absence of Defendants’ unlawful conduct.

                 h.       As a result of Defendants’ violations of the North Carolina Unfair Trade

Practice Act, the North Carolina Plaintiffs and members of the North Carolina Class seek treble

damages, plus reasonable attorney's fees and court costs, pursuant to N.C. Gen. Stat. § 75-16.

                                      REQUESTS FOR RELIEF

          Plaintiffs respectfully request the following relief:

          A.     That the Court determine that the claims alleged herein are suitable for class

treatment and certify the proposed Classes pursuant to Federal Rule of Civil Procedure 23;

          B.     That the Court appoint Plaintiffs as the representatives of the Classes;

          C.     That Plaintiffs’ counsel be appointed as counsel for the Classes;

          D.     That the Court award the New York Plaintiff and the New York Class damages in

amounts according to proof against Defendants for Defendants’ violations of New York state

antitrust law, trebled;

          E.     That the Court award the Arizona Plaintiff and the Arizona Class damages in an

amount according to proof against Defendants for Defendants’ violations of Arizona state

antitrust law, trebled;


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        F.      That the Court award the California Plaintiffs and the California Class damages in

an amount according to proof against Defendants for Defendants’ violations of California state

consumer protection and antitrust laws, trebled;

        G.      That the Court award the Florida Plaintiffs and the Florida Class damages in an

amount according to proof against Defendants for Defendants’ violations of Florida state

consumer protection law;

        H.      That the Court award the Illinois Plaintiff and the Illinois Class damages in an

amount according to proof against Defendants for Defendants’ violations of Illinois state

antitrust law, trebled;

        I.      That the Court award the Massachusetts Plaintiff and the Massachusetts Class

damages in an amount according to proof against Defendants for Defendants’ violations of

Massachusetts state consumer protection law, trebled;

        J.      That the Court award the Minnesota Plaintiff and the Minnesota Class damages in

an amount according to proof against Defendants for Defendants’ violations of Minnesota state

antitrust law, trebled;

        K.      That the Court award the North Carolina Plaintiffs and the North Carolina Class

damages in an amount according to proof against Defendants for Defendants’ violations of North

Carolina state antitrust law, trebled;

        L.      That Plaintiffs and the Classes be awarded their costs of suit, including reasonable

attorneys’ fees; and

        M.      That Plaintiffs and the Classes be awarded pre- and post-judgment interest on all

sums awarded, and other relief as the Court deems necessary and justified.




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                                    DEMAND FOR JURY TRIAL

       Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs request a trial by jury of all

claims alleged herein so triable.


Dated: November 20, 2018                     Respectfully submitted,

                                             /s/ Michael Dell’Angelo
                                             Michael Dell’Angelo
                                             Merrill Davidoff
                                             Michael J. Kane (pro hac vice application forthcoming)
                                             Joshua T. Ripley
                                             BERGER MONTAGUE PC
                                             1818 Market Street, Suite 3600
                                             Philadelphia, PA 19103
                                             Tel: (215) 875-3000
                                             Fax: (215) 875-4604
                                             mdellangelo@bm.net
                                             mdavidoff@bm.net
                                             mkane@bm.net
                                             jripley@bm.net

                                             Garrett W. Wotkyns
                                             SCHNEIDER WALLACE COTTRELL
                                             KONECKY WOTKYNS LLP
                                             8501 North Scottsdale Road, Suite 270
                                             Scottsdale, AZ 85253
                                             Tel: (480) 428-0142
                                             Fax: (866) 505-8036
                                             gwotkyns@schneiderwallace.com

                                             Joseph C. Peiffer
                                             PEIFFER WOLF CARR & KANE, APLC
                                             201 St. Charles Ave. Suite 4610
                                             New Orleans, LA 70170
                                             Tel: (504) 523-2434
                                             Fax: (504) 523-2464
                                             jpeiffer@pwcklegal.com

                                             R. Bryant McCulley
                                             Stuart McCluer
                                             MCCULLEY MCCLUER PLLC
                                             1022 Carolina Boulevard, Suite 300
                                             Charleston, SC 29451
                                             Tel: (855) 467-0451


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Fax: (662) 368-1506
bmcculley@mcculleymccluer.com
smccluer@mcculleymccluer.com

Counsel for Plaintiffs and the Proposed Classes




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